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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH
c/o Lawyers’ Committee for Civil Rights
Under Law
1500 K Street N.W., Suite 900
Washington, D.C. 20005,

DANNY MCELROY
c/o Lawyers’ Committee for Civil Rights
Under Law
1500 K Street N.W., Suite 900
Washington, D.C. 20005,

BYRON EVANS
c/o Lawyers’ Committee for Civil Rights
Under Law
1500 K Street N.W., Suite 900
Washington, D.C. 20005,

GOVERNOR LATSON
c/o Lawyers’ Committee for Civil Rights
                                              Civil Action No. _________________
Under Law
1500 K Street N.W., Suite 900
Washington, D.C. 20005,
                                              JURY TRIAL DEMANDED
MELISSA MARSHALL
c/o Lawyers’ Committee for Civil Rights
Under Law
1500 K Street N.W., Suite 900
Washington, D.C. 20005,

MICHAEL FORTUNE
c/o Lawyers’ Committee for Civil Rights
Under Law
1500 K Street N.W., Suite 900
Washington, D.C. 20005,

and JASON DEROCHE
c/o Lawyers’ Committee for Civil Rights
Under Law
1500 K Street N.W., Suite 900
Washington, D.C. 20005,

                     Plaintiffs,
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       v.

DONALD J. TRUMP
solely in his personal capacity
Mar-A-Lago
1100 S. Ocean Boulevard
Palm Beach, FL 33480,

DONALD J. TRUMP FOR PRESIDENT,
INC.
c/o Bradley T. Crate (Treasurer)
725 Fifth Avenue
New York, NY 10022,

STOP THE STEAL L.L.C.
c/o George B. Coleman
3 South Jackson Street
Montgomery, AL 36104,

ALI ALEXANDER, a/k/a Ali Abdul Razaq
Akbar, a/k/a Ali Abdul Akbar
5125 Pinellas Avenue
Fort Worth, TX 76244,

BRANDON J. STRAKA
1105 Harney Street, Apt 502
Omaha, NE 68102,

ROGER J. STONE, JR.
447 Coral Way
Fort Lauderdale, FL 33301,

PROUD BOYS
an unincorporated association
c/o Enrique Tarrio
5730 NW 2nd Street
Miami, FL 33126,

PROUD BOYS INTERNATIONAL, L.L.C.
c/o Jason L. Van Dyke
108 Durango Drive
Crossroads, TX 76227,




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ENRIQUE TARRIO
5730 NW 2nd Street
Miami, FL 33126,

ETHAN NORDEAN
31930 169th Avenue S.E.
Auburn, WA 98092,

JOSEPH R. BIGGS
114 Camino Circle
Ormond Beach, FL 32174,

ZACHARY REHL
3058 Almond Street
Philadelphia, PA 19134,

CHARLES DONOHOE
205 Chrisfield Court
Winston-Salem, NC 27104,

DOMINIC J. PEZZOLA
4039 Lake Avenue
Rochester, NY 14609,

OATH KEEPERS
c/o Christopher R. Grobl, Esq.
4625 West Nevso Drive
Suites 2 & 3
Las Vegas, NV 89103,

STEWART RHODES
9012 Sawgrass Court
Granbury, TX 76049,

THOMAS E. CALDWELL
274 Wadesville Road
Berryville, VA 22611,

JESSICA WATKINS
4868 Stoneybrook Boulevard
Hilliard, OH 43026,

KELLY MEGGS
14100 SW 101st Lane
Dunnellon, FL 34432,


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ALAN HOSTETTER
515 Monterey Lane, Apt 4
San Clemente, CA 92672,

RUSSELL TAYLOR
16 Brittle Star Lane
Ladera Ranch, CA 92694,

ERIK SCOTT WARNER
28574 Moon Shadow Drive
Menifee, CA 92584,

FELIPE ANTONIO “TONY” MARTINEZ
217 Laurelwood Court
Lake Elsinore, CA 92530,

DEREK KINNISON
212 Mohr Street
Lake Elsinore, CA 92530,

RONALD MELE
44883 Corte Sierra
Temecula, CA 92592,

and JOHN DOES 1-10,

                       Defendants.


                                          COMPLAINT

       1.      The seven Plaintiffs in this case are United States Capitol Police officers.

Collectively, they have dedicated more than 150 years to their shared mission to protect Congress

so that it can carry out its constitutional responsibilities safely and openly. On January 6, 2021,

Plaintiffs and their fellow law enforcement officers risked their lives to defend the Capitol from a

violent, mass attack—an attack provoked, aided, and joined by Defendants in an unlawful effort

to use force, intimidation, and threats to prevent Congress from certifying the results of the 2020

Presidential election. Because of Defendants’ unlawful actions, Plaintiffs were violently assaulted,




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spat on, tear-gassed, bear-sprayed, subjected to racial slurs and epithets, and put in fear for their

lives. Plaintiffs’ injuries, which Defendants caused, persist to this day.

       2.      The attack on the United States Capitol on January 6, 2021 (the “Capitol Attack”

or “Attack”), was caused by Defendants.         After Defendant DONALD J. TRUMP lost the

November 2020 Presidential election, he and the other Defendants in this case conspired with each

other and others to prevent Congress from certifying the election results through the use of force,

intimidation, and threats. TRUMP and other Defendants propagated false claims of election fraud,

encouraged the use of force, intimidation, and threats, and incited violence against members of

Congress and the law enforcement officers whose job it was to protect them. Defendants’ unlawful

efforts culminated in the January 6 mass attack on the United States Capitol and the brutal, physical

assault of hundreds of law enforcement officers. Many Defendants in this case planned, aided,

and actively participated in that attack. All Defendants are responsible for it.

       3.      Defendants’ actions violated the federal Ku Klux Klan Act, the D.C. Bias-Related

Crimes Act, and other laws.

       4.      Racism and white supremacy pervaded Defendants’ efforts from the outset.

Defendants targeted false claims of election fraud at cities and states with significant Black

populations—including Atlanta (51% Black), Detroit (78% Black), Milwaukee (39% Black),

Philadelphia (43% Black), and Pittsburgh (23% Black)—and sought to intimidate and threaten

officials from those and other jurisdictions into overturning the will of the voters. They relied on

white supremacist groups and sympathizers to organize and hold rallies and to help plan and carry

out the Capitol Attack. Participants in the Attack directed racial epithets at Black officers

protecting the Capitol. And after breaching the Capitol, the attackers paraded the Confederate flag

and other symbols of white supremacy through the Capitol’s halls.



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          5.   As detailed below, Defendants conspired to use force, intimidation, and threats to

prevent Joe Biden and Kamala Harris from taking office, to prevent Congress from counting the

electoral votes, and to prevent the Capitol Police from carrying out their lawful duties.

Defendants’ efforts began in earnest in or about November 2020, when incoming election results

showed TRUMP trailing Biden and Harris in the Presidential election. TRUMP, in concert with

other Defendants, deliberately and persistently made and encouraged false claims of election fraud

to discredit the outcome of the election and disingenuously incite outrage among his supporters.

He and other Defendants encouraged and supported acts of violence, knowing full well that among

his supporters were extremist groups and individuals, like PROUD BOYS, who had demonstrated

their propensity to the use of violence against those they regarded as critical of TRUMP.

Defendants and their co-conspirators used a range of means to further their efforts and carry out

their plans, including traditional and social media, speeches, and interviews.

          6.   Responding to TRUMP’s calls, as TRUMP and other Defendants and co-

conspirators intended, PROUD BOYS, OATH KEEPERS, and other Defendants planned and

coordinated among themselves and with others to come to Washington, D.C., and violently attack

the United States Capitol and the law enforcement officers defending it. Among other things,

Defendants, including PROUD BOYS and OATH KEEPERS, raised money for, planned, and

recruited co-conspirators to join in TRUMP’s January 6 rally and, ultimately, to join in the Capitol

Attack.

          7.   Defendants’ acts in furtherance of the conspiracies described in this Complaint

include, among other things, fabricating and spreading the lie that the Presidential election was

stolen from TRUMP by means of election fraud; promoting and disseminating countless false

claims of election fraud; intimidating and threatening state officials to prevent them from counting,



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certifying, and transmitting vote counts for Biden and Harris; organizing, promoting, holding, and

attending rallies; advocating for the use of force, intimidation, and threats to overturn the election;

assembling people, weapons, funds, resources, and support to amass a large, violent crowd to

attack the United States Capitol; attacking and overwhelming the Capitol Police and other law

enforcement, which forced the officers to move from their posts defending the Capitol; raiding the

Capitol; stopping Congress from counting electoral votes and announcing the result; and using the

interruption in the Congressional process to attempt to further delay the count and to send electoral

votes back to the states in order to prevent the election of Biden and Harris.

        8.      Defendants’ conspiratorial acts directly resulted in violence against the Capitol and

the police officers who defended it, including Plaintiffs. Several Defendants, as well as other

attackers, assaulted police officers, broke through the outer barricades surrounding the Capitol,

and breached the Capitol Building itself. They shattered the Capitol Building’s windows with

protective shields ripped from the hands of police officers. They laid siege to the House Chamber,

where police officers, members of Congress, staffers, and workers in the House Rostrum were

forced to don gas masks and barricade themselves in fear for their lives. They breached and

desecrated the Senate Chamber, in which Capitol Police, including Plaintiffs in this action, had

helped protect members of Congress. They pursued members of Congress and Vice President

Mike Pence to capture, assault, and violently punish them for carrying out their constitutional

duties. Those Defendants who did not participate in the violence provoked it, encouraged it,

planned for it, used it to further their conspiratorial goals, ratified it, and failed to take any action

to stop it.

        9.      TRUMP employed, planned for, and encouraged the use of force, intimidation, and

threats to try to stop the Congressional count of electoral votes on January 6. He followed the



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Capitol Attack on television and social media as it happened, and despite requests made to TRUMP

to call off the attackers—including from House Minority Leader Kevin McCarthy—he refused to

do so for hours as he watched on live television the attackers overrun the Capitol and threaten its

lawful occupants. Instead, TRUMP encouraged and supported the attackers. While the Attack

was ongoing, TRUMP and his co-conspirators contacted members of Congress, not to offer

support or protection, but to pressure them to delay further and to stop the Congressional count.

Even after the attackers—including white supremacists and hate groups—were finally repelled

and cleared from the Capitol, TRUMP ratified their attack and praised them, telling them, “We

love you. You’re very special,” and to “Remember this day forever!” TRUMP later confirmed

that he and the attackers shared the same goal, stating, “Personally, what I wanted is what they

wanted.”

       10.     Defendants assaulted and injured Plaintiffs and others, and caused millions of

dollars of damage to the Capitol Building and grounds. Through those actions and the actions

described in this Complaint, Defendants violated the Ku Klux Klan Act, which was designed to

prevent precisely the kinds of politically and racially motivated violence they caused and

committed on January 6. Defendants also committed bias-motivated acts of terrorism and other

torts in violation of District of Columbia law. The injuries and damages suffered by Plaintiffs

were direct and foreseeable consequences of the acts of TRUMP, co-Defendants, and their co-

conspirators. Plaintiffs suffered significant physical, psychological, and emotional injuries as a

result. Defendants must be held accountable. Plaintiffs file this Complaint to do just that, and to

help ensure that what took place on January 6 never happens again.




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                                            PARTIES
I.     Plaintiffs

       11.     Plaintiff Conrad Smith is a United States Capitol Police officer and a 32-year

veteran of the United States Capitol Police force. He is a resident of the District of Columbia.

       12.     Plaintiff Danny McElroy is a United States Capitol Police officer and a 32-year

veteran of the United States Capitol Police force. He is a resident of Maryland.

       13.     Plaintiff Byron Evans is a United States Capitol Police officer and a 16-year veteran

of the United States Capitol Police force. He is a resident of Virginia.

       14.     Plaintiff Governor Latson is a United States Capitol Police officer, a 35-year

veteran of the United States Capitol Police force, and a veteran of the United States Marine Corps.

He is a resident of North Carolina.

       15.     Plaintiff Melissa Marshall is a United States Capitol Police officer and a 13-year

veteran of the United States Capitol Police force. She is a resident of the District of Columbia.

       16.     Plaintiff Michael Fortune is a United States Capitol Police officer and a 13-year

veteran of the United States Capitol Police force. He is a resident of Maryland.

       17.     Plaintiff Jason DeRoche is a United States Capitol Police officer, an 18-year veteran

of the United States Capitol Police force, and a veteran of the United States Navy and United States

Army National Guard. He is a resident of Maryland.

II.    DONALD J. TRUMP and TRUMP FOR PRESIDENT, INC.

       18.     Defendant DONALD J. TRUMP, sued here in his personal capacity, is a resident

of Palm Beach, Florida. TRUMP’s actions described herein were taken solely in his personal

capacity.




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       19.     Defendant DONALD J. TRUMP FOR PRESIDENT, INC. (“TRUMP FOR

PRESIDENT”) is a limited liability company headquartered in New York, New York. TRUMP

FOR PRESIDENT was TRUMP’s campaign organization for the 2020 election.

III.   STOP THE STEAL, ALEXANDER, STRAKA, and STONE

       20.     Defendant STOP THE STEAL L.L.C. (“STOP THE STEAL”) is a limited liability

company with a registered address in Montgomery, Alabama.

       21.     Defendant ALI ALEXANDER, a/k/a Ali Abdul Razaq Akbar, a/k/a Ali Abdul

Akbar, is a resident of Fort Worth, Texas, and a national organizer for and leader of STOP THE

STEAL.

       22.     Defendant BRANDON J. STRAKA is a resident of Omaha, Nebraska, and a

promoter for STOP THE STEAL. He breached the United States Capitol on January 6.

       23.     Defendant ROGER J. STONE, JR. is a resident of Fort Lauderdale, Florida, and a

promoter for STOP THE STEAL and the “Stop the Steal” movement. STONE is a longtime

associate and close political advisor to TRUMP, with whom STONE met at least once shortly

before the Capitol Attack. Since at least 2018, when he participated in a PROUD BOYS initiation

ritual, STONE has worked closely with PROUD BOYS and its leader TARRIO. STONE also

worked closely with OATH KEEPERS, which provided a security detail for him on January 5

and 6, 2021.

IV.    PROUD BOYS, PROUD BOYS INTERNATIONAL, L.L.C., TARRIO, NORDEAN,
       BIGGS, REHL, DONOHOE, and PEZZOLA

       24.     Defendant PROUD BOYS is an unincorporated association consisting of PROUD

BOYS’ governing organization PROUD BOYS INTERNATIONAL, L.L.C. (“PBI”), local

chapters throughout the United States, and thousands of individual members, voluntarily joined

together by mutual consent for the purpose of promoting PROUD BOYS’ objectives. PROUD


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BOYS members pay dues both to the national body and to their local chapters. PROUD BOYS

took the actions alleged herein through PBI’s and PROUD BOYS’ agents and officers, including

TARRIO, NORDEAN, BIGGS, REHL, DONOHOE, and other PROUD BOYS members,

including PEZZOLA, acting within the scope of the authority delegated to them by PROUD BOYS

or with apparent authority to bind PROUD BOYS. In addition, on December 29, 2020, PROUD

BOYS created a leadership structure called the Ministry of Self Defense, which included TARRIO,

NORDEAN, BIGGS, DONOHOE, and REHL, which was specifically intended to help coordinate

the Capitol Attack and PROUD BOYS’ activities on January 6.

       25.     PROUD BOYS and its members espouse violence and white supremacy. They

aspire to develop and maintain a dominant white, western European racial and national identity.

They have promoted and committed acts of violence against members of the Black community,

women, Muslims, Jews, immigrants, and other historically marginalized peoples, as well as

organizations that support them. PROUD BOYS members have repeatedly aligned themselves

with other white supremacist and neo-Nazi groups, purposefully engaged in coordinated street

violence, and participated in violent extremist gatherings such as the 2017 “Unite the Right” rally

in Charlottesville, Virginia. The Southern Poverty Law Center has designated PROUD BOYS as

a hate group, and Canada has named PROUD BOYS a neo-fascist terrorist entity.

       26.     Defendant PBI was a limited liability company with a registered address in Texas.

PBI was founded in approximately 2018, and was terminated on February 10, 2021, by its

registered agent, Jason Lee Van Dyke. At the time of the Capitol Attack, PBI was the legal entity

that oversaw the whole PROUD BOYS network. PBI’s bylaws vest governing authority in a

Chairman (TARRIO), who is its highest ranking member, and an Elders Chapter, comprised of

eight PROUD BOYS members (including NORDEAN) and the Chairman. The Elders Chapter



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governs the affairs of PROUD BOYS, coordinates with the Chairman on public messaging, and is

authorized to collect dues from the entire PROUD BOYS membership.

       27.    Defendant ENRIQUE TARRIO is a resident of Miami, Florida. TARRIO is the

leader of PROUD BOYS, the Chairman of PBI, and a member of PROUD BOYS’ Ministry of

Self Defense. TARRIO operates 1776.shop, an online retailer that sells PROUD BOYS and other

white supremacist merchandise.

       28.    Defendant ETHAN NORDEAN, a/k/a Rufio Panman, is a resident of Auburn,

Washington, an Elder of PBI, and a member of PROUD BOYS’ Ministry of Self Defense. He

breached the United States Capitol on January 6.

       29.    Defendant JOSEPH R. BIGGS is a resident of Ormond Beach, Florida and a

member of PROUD BOYS’ Ministry of Self Defense. He breached the United States Capitol on

January 6.

       30.    Defendant ZACHARY REHL is a resident of Philadelphia, Pennsylvania, a

member of PROUD BOYS’ Ministry of Self Defense, and president of his local PROUD BOYS

chapter. He breached the United States Capitol on January 6.

       31.    Defendant CHARLES DONOHOE is a resident of Winston-Salem, North Carolina,

a member of PROUD BOYS’ Ministry of Self Defense, and president of his local PROUD BOYS

chapter. He breached the United States Capitol grounds and barricades on January 6.

       32.    Defendant DOMINIC J. PEZZOLA is a resident of Rochester, New York, and a

member of PROUD BOYS. He breached the United States Capitol on January 6.

V.     OATH KEEPERS, RHODES, CALDWELL, WATKINS, and MEGGS

       33.    Defendant OATH KEEPERS is registered as a domestic corporation in Las Vegas,

Nevada. It has thousands of individual members and promotes conspiracy theories that secret



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organizations are attempting to enslave Americans. OATH KEEPERS and its members have

declared that they are preparing for, and are engaged in, a civil war. OATH KEEPERS took the

actions alleged herein through its members, agents, and officers, including RHODES,

CALDWELL, WATKINS, and MEGGS, each acting within the scope of the authority delegated

to them by OATH KEEPERS or with apparent authority to bind OATH KEEPERS.

       34.    On information and belief, Defendant STEWART RHODES is a resident of

Granbury, Texas. He is the President and Director of OATH KEEPERS.

       35.    Defendant THOMAS E. CALDWELL is a resident of Berryville, Virginia, and

conspired with OATH KEEPERS and others to plan and participate in the Capitol Attack. He

breached the United States Capitol on January 6.

       36.    Defendant JESSICA WATKINS is a resident of Hilliard, Ohio, a member of OATH

KEEPERS, and Commanding Officer of the Ohio State Regular Militia (a subgroup of OATH

KEEPERS). She breached the United States Capitol on January 6.

       37.    Defendant KELLY MEGGS is a resident of Dunnellon, Florida, and a member of

OATH KEEPERS. He breached the United States Capitol on January 6.

VI.    HOSTETTER, TAYLOR, WARNER, MARTINEZ, KINNISON, and MELE

       38.    Defendant ALAN HOSTETTER is a resident of San Clemente, California.

HOSTETTER founded the “American Phoenix Project,” which he used to spread TRUMP’s false

claims that the 2020 election was stolen and to advocate the use of violence. He breached the

United States Capitol on January 6.

       39.    Defendant RUSSELL TAYLOR is a resident of Ladera Ranch, California, and a

director of the American Phoenix Project. He breached the United States Capitol on January 6.




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        40.     Defendant ERIK SCOTT WARNER is a resident of Menifee, California, and a

member of the Three Percenters, an extremist, anti-government militia group that has a significant

history of violence. He breached the United States Capitol on January 6.

        41.     Defendant FELIPE ANTONIO “TONY” MARTINEZ is a resident of Lake

Elsinore, California, and a member of the Three Percenters. He breached the United States Capitol

on January 6.

        42.     Defendant DEREK KINNISON is a resident of Lake Elsinore, California, and a

member of the Three Percenters. He breached the United States Capitol on January 6.

        43.     Defendant RONALD MELE is a resident of Temecula, California, and a member

of the Three Percenters. He breached the United States Capitol on January 6.

VII.    Other Defendants

        44.     Defendants JOHN DOES 1-10 are unknown individuals and entities, including

associates of Defendants and members of other extremist groups, who assaulted Plaintiffs or joined

in the conspiracies alleged in this Complaint through their planning, support, promotion of, and

participation in the January 5 and 6 rallies, the January 6 march, and the Capitol Attack, and

through their use of force, intimidation, and threats against local and state election officials, federal

officials, and others.

                                  JURISDICTION AND VENUE

        45.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343

because Plaintiffs’ federal claims arise under the laws of the United States. It has jurisdiction over

Plaintiffs’ District of Columbia claims because they are so closely related to the federal claims as

to form part of the same case or controversy.




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       46.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because

substantial conduct giving rise to Plaintiffs’ claims occurred in the District of Columbia.

       47.     This Court has personal jurisdiction over all Defendants pursuant to Fed. R. Civ. P.

4(k)(1)(A) and D.C. Code § 13-423 because they and their agents caused injuries to Plaintiffs by

acts and omissions inside, or having an effect in, the District of Columbia.

                                              FACTS

I.     Lies, Intimidation, and Violence in the Run-up to the 2020 Presidential Election

       48.     Throughout the 2020 campaign season, TRUMP fabricated and disseminated a

false narrative that the 2020 U.S. Presidential election was “rigged,” and that the only way he could

lose was through massive voter fraud.        During this time, TRUMP’s Twitter account had

approximately 86 million followers, to whom he posted false allegations of election fraud more

than fifty times throughout the campaign, after the election, and through and after January 6.

TRUMP also made these statements through other social media accounts.

       49.     Among other false claims of fraud, TRUMP made and disseminated meritless

claims attacking “mail-in voting,” including by posting the following tweets on May 28, 2020, at

9:00 p.m. and June 22, 2020, at 7:16 a.m., respectively:




       50.     In another social media post, TRUMP wrote, “Mail-In Ballot fraud found in many

elections. People are just now seeing how bad, dishonest and slow it is. . . . Just a formula for

RIGGING an Election. . . . Rigged Election!!! 20% fraudulent ballots?”




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       51.      Mail-in voting and absentee voting were important means for voters, including and

especially voters of color, to safely and effectively access the polls, particularly because of the

ongoing global COVID-19 pandemic. Other Defendants parroted TRUMP’s false claims and

further disseminated them through social media and other platforms.

       52.      TRUMP and his co-Defendants made these and other false claims to delegitimize

the election and stoke anger among his followers, and to prevent anyone else from taking office in

the event TRUMP lost the election. Indeed, TRUMP repeatedly signaled his willingness to

obstruct the democratic process if he were to lose. For instance, TRUMP publicly refused to agree

that he would acknowledge a Biden and Harris electoral victory. On September 23, 2020, TRUMP

refused to commit to the peaceful transition of power, even after a journalist pointed out to him

that “people are rioting” and TRUMP said, “I know.” In addition, TRUMP FOR PRESIDENT,

attorney Rudolph Giuliani, and STONE (a longtime political advisor to TRUMP) were aware of

TRUMP’s strategy to disseminate false claims of election fraud, and each actively participated in

spreading TRUMP’s false narrative along with other Defendants and co-conspirators who echoed

these claims.

       53.      TRUMP’s and his co-conspirators’ repeated cries of election fraud caused many of

his supporters, including other Defendants, to plan to employ force, intimidation, and threats on

his behalf to keep him in office, should he lose the election. For example, in a September 10, 2020

interview with conspiracy theorist Alex Jones, STONE falsely claimed that voting had been

“corrupted” through the use of mail-in ballots and urged TRUMP to invoke the Insurrection Act,

declare martial law, seize ballot boxes in swing states like Nevada, and arrest political opponents

in both the media and the Democratic Party. On October 27, 2020, RHODES appeared on

Infowars, a show operated by Jones that propagates baseless conspiracy theories. During the



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appearance, RHODES called for TRUMP to invoke the Insurrection Act and predicted a coming

civil war. RHODES vowed to post armed members of OATH KEEPERS outside Washington,

D.C., to “save the White House” so long as TRUMP did not give them a “stand down order.”

       54.     TRUMP encouraged and supported acts of violence by his supporters knowing full

well, based on his past experiences and frequent reporting from media outlets he followed, that his

supporters were angry and willing to turn to violence. For example, in October 2020, a group of

TRUMP supporters in nearly 100 vehicles surrounded a Biden campaign bus and a campaign

staffer’s car on an interstate highway in Texas. The TRUMP supporters tried to run the bus off

the road and intentionally rammed the Biden staffer’s car. TRUMP celebrated the assault,

tweeting, “In my opinion, these patriots did nothing wrong.” He then tweeted a video of the

incident with the comment “I LOVE TEXAS!” on October 31, 2020, at 8:41 p.m.:




       55.     As another example, on April 15, 2020, armed, predominantly white protesters

rallied outside the Michigan State Capitol to protest the coronavirus policies of Governor Gretchen

Whitmer, which TRUMP had previously criticized.          On April 17, 2020, TRUMP tweeted,

“LIBERATE MICHIGAN!”            On April 30, 2020, armed protesters returned to Michigan’s

statehouse and occupied it. The next morning, TRUMP tweeted that the occupiers were “very

good people” and that Governor Whitmer should “make a deal” with them.

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       56.     TRUMP also knew his supporters, including other Defendants, consisted of

individuals and organizations that espoused white supremacy and violence against Black

Americans and other marginalized groups. For example, at the first Presidential campaign debate

on September 29, 2020, TRUMP was asked repeatedly to denounce “white supremacists,” “militia

groups,” and specifically PROUD BOYS. In response, instead of denouncing them, TRUMP told

PROUD BOYS to “stand back and stand by.”

       57.     PROUD BOYS and other Defendants took TRUMP’s words as he intended them:

as an instruction and a signal of support for the use of force, intimidation, and threats. After the

debate, TARRIO tweeted, “Standing by sir,” and BIGGS posted, “Trump basically said to go f**k

them up! this makes me so happy.” They even fashioned TRUMP’s words into a logo, which they

posted to social media:




       58.     TRUMP did not disavow PROUD BOYS’ interpretation of his remarks. Following

TRUMP’s statements, PROUD BOYS’ membership and attendance at protests and rallies grew.




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II.     TRUMP Loses the Election

        59.     By the day after Election Day, as voting returns increasingly signaled Biden’s and

Harris’s victory, TRUMP, in coordination with other Defendants, including TRUMP FOR

PRESIDENT and STONE, and through Giuliani, continued to publicly promote the fiction that

the only way for TRUMP to lose the election was through widespread voter fraud. Giuliani was

one of a number of attorneys who took the actions alleged herein as an attorney for TRUMP and

TRUMP FOR PRESIDENT. Giuliani served as an advisor and confidant to TRUMP during the

latter’s term as President and joined TRUMP’s legal team in April 2018. In May 2021, a New

York court suspended Giuliani’s bar license, finding “uncontroverted evidence” that in pursuing

and promoting false claims of election fraud on behalf of TRUMP and TRUMP FOR

PRESIDENT, Giuliani “communicated demonstrably false and misleading statements to courts,

lawmakers and the public at large in his capacity as lawyer for former President Donald J. Trump

and the Trump campaign in connection with Trump’s failed effort at reelection in 2020.”

Giuliani’s Washington, D.C., bar license was also suspended as a result.

        60.     TRUMP escalated his false claims as states counted and reported absentee and vote-

by-mail ballots over the next several days. Many jurisdictions prohibited counting absentee and

vote-by-mail ballots until after polls closed, and TRUMP falsely claimed that this practice was a

nefarious plot against him. On the evening of November 5, 2020, TRUMP gave his first prime-

time speech after the election, falsely claiming, “If you count the illegal votes, they can try to steal

the election from us.” And in coordination with TRUMP, on November 5, 2020, the official

Twitter account of TRUMP FOR PRESIDENT tweeted and retweeted three tweets with the

hashtag #stopthesteal (the slogan popularized and marketed by STONE and ALEXANDER), with




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one of these retweets explicitly promulgating false claims of fraud and using the hashtag

#fightthefraud.

       61.        On November 7, 2020, major news outlets called the election for Biden and Harris,

setting the stage for Harris to become the first woman and the first person of color elected Vice

President.

       62.        TRUMP, TRUMP FOR PRESIDENT, and their allies, through Giuliani and other

attorneys, filed and caused to be filed scores of baseless lawsuits in various state and federal courts

in which they challenged the election results and asserted false and fabricated claims of voter fraud.

The lawsuits were part of a coordinated strategy to cast doubt on the election outcome, agitate

many TRUMP supporters by reinforcing in them the false belief that they had been defrauded, and

provide cover for Defendants while they planned to overturn the outcome of the election by other

unlawful means. Such efforts included TRUMP and TRUMP FOR PRESIDENT publishing and

promoting additional false election fraud claims and using out-of-court statements and press

conferences to sow false doubts about the electoral process, all of which provoked anger in many

TRUMP supporters toward state and local election officials.

       63.        Courts overwhelmingly rejected Defendants’ claims, repeatedly finding that these

claims lacked factual or legal support.

       64.        TRUMP and others acting on his behalf approved or supported filing these lawsuits

in furtherance of their goals. TRUMP knew many of these claims to be false, even stating that one

of his lawyers advancing the claims was “getting a little crazy,” “[n]o one believes this stuff,” and

“[i]t’s just too much.” In December 2020, then-Attorney General William Barr announced that

the Department of Justice found no evidence of widespread voter fraud.




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       65.     Many of the false claims of election fraud propagated by Defendants targeted Black

and minority voters. TRUMP, TRUMP FOR PRESIDENT, Giuliani, and others worked jointly to

overturn the election results in major cities where Black voters had overwhelmingly supported

Biden and Harris. Giuliani falsely claimed there had been widespread voter fraud in Detroit,

Atlanta, Philadelphia, and Pittsburgh—all of which have large Black populations—and that

Philadelphia had “a sad history of voter fraud.” He also falsely claimed that deceased Black

Americans had been allowed to vote, misleadingly calling out specific Black voters by name.

Later, Giuliani advocated for rejecting all votes cast in Detroit, which has a population that is 78

percent Black. Giuliani falsely asserted that TRUMP lost Wisconsin because of voter fraud in

Milwaukee and Madison, which are also home to large Black populations, and claimed that “big

city . . . crooks” in multiple states had conspired to “steal votes” from TRUMP. Attempts to smear

Black voters and cities with large Black populations as criminal and fraudulent have long been

used to disenfranchise Black Americans and were interpreted this way by many of the conspirators.

This narrative fueled anger among white supremacist groups and others and evidences the racism

that helped motivate them from the start.

       66.     Many TRUMP supporters, encouraged by these Defendants’ claims of election

fraud, attacked buildings in which state election officials were counting absentee ballots. On

November 4, 2020, after the Associated Press called Michigan for Biden, TRUMP tweeted false

claims of election fraud and a group of TRUMP supporters attempted to force their way into the

Detroit Convention Center in an effort to stop the counting of votes occurring inside. Similarly,

on November 5, 2020, after TRUMP made several false claims of election fraud in Pennsylvania,

two armed men were arrested outside the Pennsylvania Convention Center after law enforcement




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received a tip that some TRUMP supporters planned to attack the building in an attempt to stop

the vote count happening within.

       67.     In the weeks following the election, TRUMP and his co-conspirators intimidated

and threatened state and local election officials in Michigan, Arizona, Georgia, and Pennsylvania

to attempt to force them into ending their vote counts or otherwise rejecting the election results in

their jurisdictions.    TRUMP targeted several Republicans, including Philadelphia City

Commissioner Al Schmidt, Arizona Governor Doug Ducey, Georgia Governor Brian Kemp, and

Georgia Secretary of State Brad Raffensperger, among others. In one instance, on December 15,

2020, at 9:29 a.m., TRUMP retweeted the following threat from attorney Lin Wood, which stated

Governor Kemp and Secretary Raffensperger would “soon be going to jail”:




       68.     TRUMP openly threatened violence to prevent Biden and Harris from taking office.

For example, in raising false fraud claims to challenge state vote counts, TRUMP posted tweets

suggesting his supporters would revolt and resort to violence if he lost the election—stating that

their actions to prevent Biden and Harris from taking office would “escalate dramatically,” and




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that it was “a very dangerous moment in our history” because “[p]eople are not going to stand for

having this Election stolen from them. . . !”

       69.     In response to TRUMP’s threats and his continued claims of voter fraud, other

Defendants promoted the use of force, intimidation, and threats to prevent election certification

and Biden and Harris from taking office, including, but not limited to, the following actions:

       a.      STRAKA told a crowd at a November 6, 2020 rally in Detroit that “People are out
               of their f**king minds if they think that we’re going to sit down quietly and allow
               them to steal this election.” He proclaimed, “We are not going to take it,” directed
               others to “never ever back down,” and pledged he would “do whatever needs to be
               done to make sure that Donald Trump is victorious as our President for four more
               years.”

       b.      RHODES appeared on Infowars on November 10, 2020, and called on supporters
               to go to Washington, D.C., to “stand up” against election theft, declaring they
               should be ready for “violence” and “a bloody fight.” RHODES also warned that
               OATH KEEPERS was preparing for military action if TRUMP were forced to leave
               office.

       c.      In interviews on November 14 and December 23, 2020, ALEXANDER solicited
               people to sign up for an email listserv at StoptheSteal.us, and told followers that
               they had to “put bodies in the streets and make the American oligarchs scared of
               what we’ll do.” (Emphasis added). He also called for “fighters,” telling viewers
               that “you teach a bully to stop hitting you by punching him in the nose. We’ve got
               to punch the left in the nose and we’ve got to stop being nice about it.” (Emphasis
               added). On December 30, 2020, ALEXANDER tweeted, in reference to the
               Congressional count of electoral votes and announcement of the election of Biden
               and Harris on January 6, “If they do this, everyone can guess what me and 500,000
               others will do to that building.”

       d.      On November 20, 2020, Giuliani appeared on Fox News asserting false claims of
               voter fraud—describing it as “a national conspiracy”—and warned that “[t]hese
               people want to destroy us. They are very, very bad people.” Giuliani claimed the
               Democratic Party was growing “more corrupt and more corrupt and more corrupt”
               and, making a throat-slashing motion, instructed viewers: “Somebody’s got to cut
               the head off.” (Emphasis added).

       e.      HOSTETTER posted a video on November 27, 2020, on an American Phoenix
               Project channel, asserting that “some people at the highest levels need to be made
               an example of with an execution or two or three.” HOSTETTER said that he was
               going to come back to Washington, D.C., “with a million Patriots and we’ll
               surround that city,” and “if this doesn’t get resolved peacefully and soon,” “we will

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               be back.” HOSTETTER then spoke at an American Phoenix Project-hosted “Stop
               the Steal” rally on December 12, 2020, in Huntington Beach, California, where he
               said, referring to the 2020 Presidential election, “execution is the just punishment
               for the ringleaders of this coup.”

       f.      On December 16, 2020, the website of the Three Percenters stated that “[t]he 2020
               presidential election has undoubtedly unveiled that there was widespread election
               fraud perpetrated against the American people,” that the group “stand[s] fully
               behind President Trump,” and that they “stand ready and are standing by to answer
               the call from our President” “to enter into battle,” but only if “we are told to.”

       g.      Shortly after the Capitol Attack, law enforcement found a “death list” in
               CALDWELL’s home office, which included the name and location of an elections
               official.

       70.     TRUMP was warned that his targeting of public officials would lead his supporters

to violence, but he did not relent. Foreseeably, many TRUMP supporters took his public

comments calling Georgia Secretary of State Raffensperger an “enemy of the people” as directions

to intimidate Raffensperger and his wife. In response to TRUMP’s comments, TRUMP supporters

sent intimidating and threatening text messages to Raffensperger and his wife, including, “Your

husband deserves to face a firing squad,” “You better not botch this recount. Your life depends on

it,” and, “The Raffenspergers should be put on trial for treason and face execution.” Georgia

election official Gabriel Sterling warned TRUMP in a televised address to stop his attacks on

Raffensperger, saying that “[s]omeone’s gonna get shot, someone’s gonna get killed,” after one of

his staff went into hiding due to death threats. TRUMP nevertheless condoned his supporters’

actions and encouraged further threats, calling Raffensperger an “enemy of the people . . . whether

he’s Republican or not.” In response, TRUMP’s followers (including Defendants) continued to

threaten Raffensperger with violence.

       71.     Likewise, at a December 5, 2020 rally in Georgia, TRUMP falsely called out

Michigan for purportedly allowing widespread voter fraud, which provoked the anger of his

supporters. That same night, a large group of armed protestors surrounded the home of Michigan

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Secretary of State Jocelyn Benson. They used slogans mirroring TRUMP’s claims of voter fraud

and a stolen election, such as “Stop the Steal,” shouted obscenities, and, as Secretary Benson

reported, made “threats of violence, intimidation, and bullying,” with the goal of “overturn[ing]

and upend[ing] the results of an election that are clear and unequivocal.”

       72.     TRUMP, Giuliani, and other co-conspirators directly contacted state officials and

tried to intimidate and threaten them into stopping or reversing the count and certification of state

popular and electoral votes.

       a.      On December 23, 2020, TRUMP called the chief investigator for the Georgia
               Secretary of State’s office, who was performing a ballot audit in Cobb County, and
               told her—without any factual support—to scrutinize the ballots and she would find
               “dishonesty.”

       b.      On January 2, 2021, TRUMP and other co-conspirators called Georgia Secretary
               of State Raffensperger and attempted to intimidate Raffensperger despite being
               repeatedly told that there was no electoral error. TRUMP told Raffensperger that
               “the people of Georgia are angry, the people of the country are angry. And there’s
               nothing wrong with saying that, you know, that you’ve recalculated.” TRUMP then
               falsely suggested that Raffensperger had committed a criminal offense. TRUMP
               told Raffensperger, “I just want to find 11,780 votes, which is one more than we
               have [and one more than the 11,779 vote margin of defeat] because we won the
               state. . . . Fellas, I need 11,000 votes. Give me a break.” TRUMP encouraged
               Raffensperger to “reexamine” the election results but “with people who want to
               find answers.”

       c.      TRUMP and his co-conspirators also tried to intimidate and threaten Arizona state
               and county officials into stopping and changing the vote count there by making
               multiple calls to get officials to change the results. On January 1 and 3, 2021,
               TRUMP tried to call Clint Hickman, then-Chairman of the Maricopa County Board
               of Supervisors, to pressure him to change the election results. And at TRUMP’s
               direction, Giuliani tried to contact Hickman and Board members Steve Chucri, Bill
               Gates, and Jack Sellers to convince the Board to change the election results.

       73.     TRUMP knew that his actions were encouraging and causing PROUD BOYS,

OATH KEEPERS, white supremacist and extremist groups, and other supporters to use violence

and intimidation at demonstrations and rallies on his behalf. For example, at a November 14, 2020

“Million MAGA March” in Washington, D.C., attended by members of PROUD BOYS and

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OATH KEEPERS, marchers violently clashed with counter-protestors, resulting in several

assaults, two injured police officers, and at least twenty arrests.

       74.     A few days later, on November 18, 2020, PROUD BOYS appeared with

ALEXANDER at a Stop the Steal rally outside the state capitol in Georgia. ALEXANDER and

TARRIO spoke, promoting false claims of election fraud. ALEXANDER asked the crowd of

TRUMP supporters, “Who is going to be ready to storm the capitol with us in a few minutes?”

after which they led the crowd inside the state capitol. ALEXANDER told a TRUMP supporter,

“we’re going to stop the steal. But first we’re going to stop the certification.”

       75.     Less than a month later, Defendants, including TARRIO, RHODES, and

approximately 400 members of PROUD BOYS, attended a December 12, 2020 rally in

Washington, D.C., which was organized by STOP THE STEAL and ALEXANDER, among

others. The night prior to the rally, STONE, TARRIO, and NORDEAN promoted the rally and

appeared on stage to gather support. Consistent with the racially motivated mission of PROUD

BOYS, the rally resulted in acts of violence against Black Americans. PROUD BOYS members

attacked a Black woman and, separately, a solitary Black bystander, trapping him against a wall

and beating him until police arrived. PROUD BOYS members also deliberately destroyed

property at Black institutions in the District of Columbia, tearing down multiple Black Lives

Matter signs at historically Black churches, including Asbury United Methodist Church and

Metropolitan African Methodist Episcopal Church. TARRIO was arrested in illegal possession of

high-capacity firearms magazines on January 4, 2021, in Washington, D.C., on charges of burning

the Asbury church’s banner. He pled guilty to both of these offenses on July 19, 2021.

       76.     These incidents were widely reported in the news and on social media, including

by Fox News and on Twitter, both of which TRUMP followed closely. STONE, a close friend



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and longtime advisor to TRUMP, actively planned the December 12 rally and spoke on stage the

night before. The morning of December 12, 2020, TRUMP tweeted, “WE HAVE JUST BEGUN

TO FIGHT!!!” RHODES went on stage at the rally later that day and responded in kind,

announcing that TRUMP “needs to know from you that you are with him, [and] that if he does not

do it now while he is commander in chief, we’re going to have to do it ourselves later, in a much

more desperate, much more bloody war.”

III.   Planning the January 6 Rally, March, and Attack

       A.      Defendants Plan the Rally

       77.     On December 14, 2020, the electors of the Electoral College officially cast their

ballots. Federal law required Congress to convene to count those ballots at 1:00 p.m. on January

6, 2021, and to declare the winners of the Presidential election based on that count. In this way,

Congress certifies Presidential election results.

       78.     As soon as the ballots were cast on December 14, 2020, it became apparent that

Biden and Harris would be declared the winners of the Electoral College vote. Defendants worked

to do everything they could, including using force, intimidation, and threats, to stop Congress from

counting those ballots and declaring Biden and Harris the winners of the election. Among these

acts, they worked to gather extremists, white supremacist groups, and other TRUMP supporters to

rally and march on the Capitol on January 6 to try to physically force Congress to abandon the

count. This rally, the January 6 rally, was used to launch the Capitol Attack.

       79.     TRUMP and members of the TRUMP FOR PRESIDENT staff planned and

organized the January 6 rally, including the application for the permit, the choice of vendors, the

preparation of the venue, and the selection of the speakers and music. They chose the date and

time of the rally because it was immediately before Congress was set to begin its count of Electoral



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College ballots. TRUMP also insisted on a march to the Capitol that day, and his TRUMP FOR

PRESIDENT campaign staff helped plan that march under his direction, even though the permit

application stated that there was no plan for a march and the event permit prohibited a march.

TRUMP and his co-conspirators prepared and distributed promotional materials that included

maps that referenced the march. TRUMP, TRUMP FOR PRESIDENT, other Defendants, and co-

conspirators also arranged financial support for the rally and march.

       80.     TRUMP and his co-conspirators promoted and prepared for the rally and march,

continued spreading false claims of election fraud, and continued trying to intimidate and threaten

government officials into stopping the electoral vote count and announcement of the election of

Biden and Harris. For example, ALEXANDER stated that in working to “stop the steal,” he had

worked with TRUMP’s lawyers and coordinated with “people from the White House.”

ALEXANDER communicated with a senior TRUMP FOR PRESIDENT official on January 5 and,

on the morning of January 6, shortly before the Capitol Attack, ALEXANDER stated, “The

president’s mood is he’s in fighter mode and today will determine which Republicans are going to

suffer his wrath going forward. That’s the mood that he’s in. In fact, I got a call last night from

[TRUMP FOR PRESIDENT official and TRUMP family member] Kimberly Guilfoyle and none

of us are stopping.” STONE, a friend and advisor to TRUMP, also worked to promote and

fundraise for the January 6 event, including by coordinating with MEGGS and other members of

OATH KEEPERS to provide STONE with security on January 5 and 6.

       B.      TRUMP Directs His Supporters to Attend the Rally and March

       81.     TRUMP actively promoted the January 6 rally and subsequent march on the United

States Capitol. He repeatedly instructed his supporters to come to Washington, D.C., on January




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6, telling his supporters it would be “wild,” including in the below tweet on December 19, 2020,

at 1:42 a.m.:




       82.      TRUMP repeated his instructions several times for supporters to come to

Washington, D.C., on January 6, in order to prevent Congress from counting the electoral votes

and the announcement of Biden’s and Harris’s election. On December 26, 2020, for example,

TRUMP tweeted: “The ‘Justice’ Department and the FBI have done nothing about the 2020

Presidential Election Voter Fraud, the biggest SCAM in our nation’s history, despite

overwhelming evidence. They should be ashamed. History will remember. Never give up. See

everyone in D.C. on January 6th.” In so doing, TRUMP made clear that because government

authorities were not taking action to ensure his continuation in office, his supporters should take it

upon themselves to do so. On December 27, 2020, TRUMP tweeted, “See you in Washington,

D.C., on January 6th. Don’t miss it. Information to follow!” On December 30, 2020, TRUMP

tweeted in all caps: “JANUARY SIXTH, SEE YOU IN DC!” On January 1, 2021, TRUMP

tweeted, “The BIG Protest Rally in Washington, D.C., will take place at 11.00 A.M. on January

6th. Locational details to follow. StopTheSteal!”

       83.      These tweets and messages were intended to be, and were understood by

Defendants, co-conspirators, and other TRUMP supporters to be, instructions to use any means

necessary, including force, intimidation, and threats, to prevent Congress from counting the

electoral votes and the announcement of the election of Biden and Harris on January 6. Just as


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TRUMP intended and expected, his statements were understood clearly by other Defendants and

co-conspirators.

       84.     HOSTETTER posted on social media that TRUMP had called on “all patriots” to

“descend on Washington DC” on January 6, “the date of the Joint Session of Congress” on which

“they will either accept or reject the fake/phony/stolen electoral college votes,” and said that he

would “be there, bullhorns on fire, to let the swamp dwellers know we will not let them steal our

country from us.”

       85.     Likewise,   users   of   the   heavily trafficked     pro-TRUMP      online   forum

www.theDonald.win, which was used to plan the Capitol Attack, responded within mere minutes

to TRUMP’s December 19, 2020 tweet announcing and inviting his supporters to the January 6

rally. One user immediately posted a link to the tweet with the headline, “TRUMP TWEET.

DADDY SAYS BE IN DC ON JAN 6TH.” Moderators pinned the post to the website’s

homepage, and within five days it had 4,683 comments and 20,663 “likes.” Many users posted

similar comments, such as, “If you’ve been waiting for a signal, THAT’S IT.”

       86.     OATH KEEPERS, PROUD BOYS, and members of other organizations mobilized

in direct response to TRUMP’s command. The Long Island Chapter of the Proud Boys, using its

Twitter handle @proudboysLI, posted on December 20, 2020, at 11:30 a.m., that TRUMP had

given them a “green light.” TAYLOR posted on social media on December 30, 2020, calling for

“CALIFORNIA Patriots to join us as we March into the Capitol Jan. 6” and to “meet up with the

stop the steal organization and surround the capital [sic].” In that way, they would “be part of the

large effort for the ‘Wild Rally’ that Trump has asked us all to be part of.” On December 22, 2020,

MEGGS posted a series of messages on social media stating, “Trump said It’s gonna be wild!!!!!!!

It’s gonna be wild!!!!!!! He wants us to make it WILD that’s what he’s saying. He called us all to



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the Capitol and wants us to make it wild!!! Sir Yes Sir!!! Gentlemen we are heading to DC pack

your sh*t!!” On December 29, 2020, BIGGS posted to Parler—a social networking service with

a significant user base of TRUMP supporters, conspiracy theorists, and extremists—that “Jan 6th

is gonna be epic.”

       87.     Several Defendants also publicly called for a violent uprising in the wake of

TRUMP’s call to action. For instance, BIGGS posted on Parler that “Every law makers [sic] who

breaks their own stupid F**king laws should be dragged out of office and hung.” CALDWELL

renounced “peaceful[]” protest and posted on social media that it was time to “smite them now

and drive them down.” NORDEAN posted a video saying, “Democracy is dead? Well, then no

peace for you. No democracy, no peace.” RHODES also said in a video that he would “fight” on

January 6 to make sure the country did not turn to communism and socialism. TAYLOR declared

at a January 5 rally in front of the U.S. Supreme Court that “we will not return to our peaceful way

of life until this election is made right, our freedoms are restored, and America is preserved.” And

at a December 19, 2020 rally in Phoenix, ALEXANDER—who often used “yet” as code for the

use of violence—made clear that Defendants were expecting and planning for violence:

               One of our organizers in one state said, “We’re nice patriots, we
               don’t throw bricks.” I leaned over and I said, “Not yet. Not yet!”
               Haven’t you read about a little tar-and-feathering? Those were
               second-degree burns! . . . We’re going to convince them to not
               certify the vote on January 6 by marching hundreds of thousands, if
               not millions of patriots, to sit their butts in D.C. and close that city
               down, right? And if we have to explore options after that . . . “yet.”
               Yet!

(Emphasis added). The audience cheered in response to ALEXANDER’s statements, yelling

“noose!” and chanting “nothing’s off the table!”

       88.     TRUMP was well aware of the prospect for violence on January 6, for many

reasons. Many of Defendants’ plans were publicly announced and widely reported. TRUMP


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supporters also repeatedly tagged him in posts on Twitter—which he and his TRUMP FOR

PRESIDENT campaign staff monitored daily—in which they said they needed to “Storm the

Capitol,” “occupy the capitol,” “Occupy the rotunda,” “occupy the chambers of Congress and

forcibly evict the traitors,” “secure them [i.e., lawmakers] and detain Biden,” and “shut down

Congress.” One post tagging TRUMP said TRUMP should “[j]ust call us and we’ll come armed

to occupy DC,” and that if TRUMP asked, “we will put a[n] army of patriots around the White

House, and storm the SCOTUS, And the Capitol.” The STOP THE STEAL website explicitly

stated that “Congress cannot certify this fraudulent Electoral College.” TRUMP and his advisors

actively monitored websites and social media platforms, including Twitter, where his followers

made similar posts, many of which were discussed by media outlets regularly viewed by TRUMP.

       89.     TRUMP, TRUMP FOR PRESIDENT, STONE, ALEXANDER, and STOP THE

STEAL publicized the January 6 rally widely among TRUMP supporters, encouraging as many

people as possible to attend despite widespread reports that many had already resorted to violence

and threats of violence in response to TRUMP losing the election. TRUMP retweeted a post from

the chair of Women for America First (an organizer of the January 6 rally), in which the chair

stated, “The calvary [sic] is coming, Mr. President!,” to which TRUMP replied on January 1, 2021,

at 3:34 p.m., “A great honor!”




       90.     As the Congressional count of the electoral votes and announcement of the election

of Biden and Harris approached, TRUMP continued to falsely claim fraud and insisted that, despite

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the fact that every state had certified their electoral votes, TRUMP intended to fight the election

he had just lost. “If the liberal Democrats take the senate and the white house . . . we’re gonna

fight like hell I’ll tell you right now,” he said. “[T]he Democrats are trying to steal the white

house. You cannot let them, you just can’t let them. . . .”

       C.      Defendants Plan the Capitol Attack

       91.     In response to TRUMP’s calls to come to Washington, D.C., on January 6, certain

Defendants coordinated and prepared to attack the United States Capitol to stop the count of

electoral votes and announcement of the election of Biden and Harris.

       92.     Many Defendants raised funds for travel, lodging, protective gear, transportation,

and weapons. On December 27, 2020, NORDEAN created an online crowdfunding campaign that

solicited donations for “Protective gear and communications” to be used by PROUD BOYS on

January 6, and he shared a link to the crowdfunding campaign on his Parler account. He later

published a fundraising video captioned, “Let them remember the day they decided to make war

with us,” again soliciting donations for “protective gear and communications equipment.”

Approximately a week before January 6, STONE solicited funds to pay for equipment and security

for the January 6 rally, indicating he would be speaking and marching there. REHL raised funds

for the Capitol Attack, creating a campaign on the crowdfunding site www.givesendgo.com called

“Travel Expenses for upcoming Patriot Events.” STOP THE STEAL also solicited funds for

lodging and transportation leading up to January 6.

       93.     Defendants also worked to recruit attendees and arrange logistics for the Capitol

Attack. HOSTETTER, TAYLOR, KINNISON, and MARTINEZ discussed plans to travel to

Washington, D.C., on a Telegram chat that TAYLOR later named “The California Patriots-Answer

the Call Jan 6.” TAYLOR created another Telegram chat joined by over thirty individuals,



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including HOSTETTER, WARNER, KINNISON, MARTINEZ, and MELE, called “The

California Patriots-DC Brigade” (“DC Brigade”). TAYLOR described the purpose of the chat as

“for able bodied individuals that are going to DC on Jan 6” who are “ready and willing to fight,”

and “to organize a group of fighters to have each other’s backs and ensure that no one will trample

on our rights.” PROUD BOYS created a Ministry of Self Defense, which was intended to help

coordinate the Capitol Attack and PROUD BOYS’ activities on January 6. DONOHOE then set

up an encrypted PROUD BOYS messaging channel named “New MOSD [Ministry of Self

Defense],” which included NORDEAN, BIGGS, REHL, DONOHOE, and others, and used that

channel to convey instructions to PROUD BOYS members regarding January 6. Likewise, BIGGS

created a secure, encrypted PROUD BOYS communications channel called “Boots on the

Ground,” used to coordinate the group’s activities during the Capitol Attack. On January 4, 2021,

RHODES published a blog post announcing OATH KEEPERS will be “boots on the ground” and

issuing a call to arms: “All Patriots who can get to DC need to be in DC. Now is the time to stand.

It’s not too late to go. Jump on a plane! Jump in your car! Just get there. . . . Stand now, or kneel

forever.”

       94.     Members of PROUD BOYS, OATH KEEPERS, and the Three Percenters also

coordinated to plan the attack. MEGGS “organiz[ed] an alliance” between PROUD BOYS, OATH

KEEPERS, and other individuals, and assured others that they had “decided to work together.”

CALDWELL, who coordinated closely with members of OATH KEEPERS, stated that he

“expect[ed] a big turn out [sic] of the Proud Boys.” CALDWELL also messaged a member of the

Three Percenters, asking, “are you and any of your fellow 3-percenters having any kind of

meetings coming up to discuss the 6th of Jan in d.c. or just getting together? I would like to meet

some of the guys if you think I ’m [sic] cool enough.”



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       95.     A number of Defendants worked together to arm themselves and other attendees of

the January 6 rally in anticipation of a violent confrontation at the Capitol. RHODES advised

OATH KEEPERS members, including MEGGS and WATKINS, to bring heavy flashlights,

“Collapsible Batons,” “Good hard gloves,” “eye pro[tection],” and helmets, telling them they

could buy “Mechanix gloves and a batters helmet from Walmart.” MEGGS told one potential

attacker to bring “mace,” “gas masks,” “batons,” and “armor,” and advised that person that if they

did not have armor to “at least get a plate carrier on Amazon multi cam is best.” TAYLOR told

others in the “DC Brigade” Telegram chat that he was “assuming that you have some type of

weaponry that you are bringing with you and plates as well.” TAYLOR also asked members to

identify if they had law enforcement experience or “special skills relevant to our endeavors,” and

suggested bringing a “Hatchet, Bat, or Large metal flashlight.” KINNISON said in the chat that

he, MELE, and WARNER were bringing “medical kits, radios, multiple cans of bear spray, knives,

flags, plates[,] goggles, [and] helmets.” MELE posted on social media that he was renting a large

SUV because he needed “room for the ‘gear.’” KINNISON asked in a text message to MELE,

WARNER, and MARTINEZ whether they were sure they wanted to bring a “shotty” (shotgun)

and “another long iron” (rifle), and MELE responded, “Shorter the better. Mine will be able to be

stashed under the seat. I’ll bring it. 18" barrel.” KINNISON later sent a text message to the same

Defendants saying, “Got the bandolier,” and attached a photograph of him wearing a bandolier

with shotgun ammunition. And, at 11:28 p.m. on January 5, TAYLOR posted a photo to a chat on

another encrypted messaging service showing a khaki backpack, black plate-carrier vest, walkie-

talkie radio, stun baton, helmet, scarf, and knife, all arranged on a bed, with the caption, “Now

getting ready for tomorrow.”




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       96.     Defendants tracked the number of expected participants to ensure they had

sufficient numbers to carry out the attack. MEGGS assured others that OATH KEEPERS would

have at least 50 to 100 members present on January 6, and that he had “made contact” with PROUD

BOYS, who he said always had a big group, calling it a “Force multiplier.” In text messages

between WATKINS and CALDWELL, the two discussed the status of incoming buses and the

number of people on them. TARRIO posted on Parler promising he would be able to put “1000

boots on the ground.” And on January 5, BIGGS posted a message to the “Boots on the Ground”

communications channel that he was “Just trying to get our numbers. So we can plan accordingly

for tonight and go over tomorrow’s plan.”

       97.     Defendants further coordinated to develop plans to overwhelm those protecting the

Capitol, like Plaintiffs. MEGGS and other members of OATH KEEPERS received training in

firearms to prepare for January 6. TARRIO instructed PROUD BOYS members to (i) “spread

across downtown DC in smaller teams” than in the past, (ii) “conceal your intentions,” (iii) “Pose

as a friend, work as a spy,” (iv) “crush your enemy totally,” and (v) “keep others in suspended

terror.” DONOHOE told other PROUD BOYS members on the “New MOSD” messaging channel

to “meet at the Washington Monument at 10am … Details will be laid out at the pre meeting!

Come out as a patriot!” WATKINS and CALDWELL discussed in text messages where the

attackers would gather, who would take charge “and get the ball rolling” to initiate the attack, and

what transportation they would use on the day of the attack. ALEXANDER claimed that he was

talking with other organizers to plan security for January 6 and that he had spoken with PROUD

BOYS about accommodations in Washington, D.C. ALEXANDER’s and STOP THE STEAL’s

website (www.stopthesteal.us) urged followers to “take to the Capitol lawn and steps” and

provided support by posting a detailed map of Washington, D.C., and instructions on where to



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meet. TAYLOR, who appointed KINNISON “lead on Comms” in the DC Brigade chat, posted in

a Telegram chat with other Defendants, including HOSTETTER, that he “personally want[ed] to

be on the front steps and be one of the first ones to breach the doors!” One PROUD BOYS member

sent a message on Telegram saying he hoped his men could incite the “normies” to “burn that city

to ash today” and “smash some pigs to dust.” (Emphasis added). “Pigs” is often used as a

derogatory term for police officers.

       98.     Members of OATH KEEPERS coordinated to form “Quick Reaction Forces,” or

“QRFs,” so that additional weaponry and firearms could quickly be brought to the Capitol after

the Capitol Attack started. WATKINS, CALDWELL, and MEGGS informed other OATH

KEEPERS members of the availability of these weapons. In one message, CALDWELL told

WATKINS that others were “committed to being the quick reaction force anf [sic] bringing the

tools if something goes to hell. That way the boys don’t have to try to schlep weps [weapons] on

the bus.”

       99.     Defendants also agreed and planned to move through Washington, D.C., covertly

to conceal from law enforcement and others their intention to attack the Capitol. In a Parler post

on December 29, 2020, TARRIO instructed PROUD BOYS members to dress “incognito,” rather

than wearing the “traditional Black and Yellow” set forth as the mandatory dress code in PROUD

BOYS bylaws. NORDEAN, BIGGS, REHL, and DONOHOE likewise warned other PROUD

BOYS members not to wear PROUD BOYS colors on January 6. STOP THE STEAL, aware that

it was considered an extremist group, concealed its plans for a rally by applying for a rally permit

on Capitol grounds using a false name.




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IV.       The January 6 Capitol Attack

          A.     TRUMP and Other Defendants Provoke and Direct a Mob

          100.   Thousands of TRUMP supporters poured into Washington, D.C., in response to

TRUMP’s and other Defendants’ calls to converge on the city. STONE and ALEXANDER had

worked with the organizers of the January 6 rally to plan the event and, with the approval of

TRUMP, were included as speakers in the January 5 pre-march rally held at Freedom Plaza, which

followed an earlier rally that afternoon at the Supreme Court. At the Supreme Court, Defendants

promoted false election fraud theories to further stoke the anger of the crowds of TRUMP

supporters. STONE, HOSTETTER, and other co-conspirators spread false claims of election

fraud. STONE, accompanied by MEGGS and other OATH KEEPERS, spoke about Congress’s

count and certification of Biden’s victory, stating, “nothing is over until we say it is over” and

telling the crowd he would march with them the next day “shoulder to shoulder.” HOSTETTER,

whose American Phoenix Project sponsored the rally, told the crowd, “We are at war in this

country. We are at war tomorrow,” and “We are coming [for Congress] if they don’t do the right

thing.”

          101.   At Freedom Plaza, TAYLOR, ALEXANDER, STONE (again accompanied by

members of OATH KEEPERS), STRAKA, and other co-conspirators appeared before crowds,

repeated TRUMP’s false election fraud claims, and made threats of violence to stop the count of

electoral votes. Alex Jones told the crowd, “I don’t know how this is all going to end, but if they

want to fight, they better believe they’ve got one.” ALEXANDER told the crowd that the

government should be “afraid of the people” and led the crowd in chants of “Victory or Death.”

ALEXANDER further told a crowd that “1776 is always an option. These degenerates in the deep

state are going to give us what we want, or we are going to shut this country down.” The term



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“1776” has commonly been used by Defendants and their supporters as a code for violent

revolution. STONE repeated false claims of election fraud, saying that the election was a fight

between “good and evil.” Repeating his call to action earlier that day, STONE said that he would

be with the crowd tomorrow “shoulder to shoulder” with them. He acknowledged ALEXANDER

for driving the Stop the Steal movement.

       102.    Following a day of speeches encouraging violence, regurgitating the false narrative

of a stolen election, and calling for “patriots” to take action, TRUMP attempted to intimidate

members of Congress into stopping the count of electoral votes by pointing to the crowds

descending on Washington, D.C. TRUMP tweeted on January 5, 2021, at 5:05 p.m.: “Washington

is being inundated with people who don’t want to see an election victory stolen by emboldened

Radical Left Democrats. Our Country has had enough, they won’t take it anymore! We hear you

(and love you) from the Oval Office. MAKE AMERICA GREAT AGAIN!” He followed this

with another tweet at 5:12 p.m.:




       103.    TRUMP continued to tweet false and provocative statements into the morning of

January 6, at 1:00 a.m., and signaled to his supporters and co-Defendants that it was imperative to

force Vice President Pence to stop Congress’s certification of the Electoral College votes:




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        104.    As of the start of Congress’s joint session on January 6, there remained no lawful

avenue to stop Congress’s certification of the electoral votes. Accordingly, Vice President Pence

rejected TRUMP’s repeated demands to cancel the electoral vote count and, as TRUMP tweeted

on January 6, 2021, at 8:17 a.m., “send [the election] back to the States.” Pence issued a letter

recognizing that he did not have “unilateral authority to determine which electoral votes should be

counted and which should not.”

        105.    TRUMP and co-conspirators resolved to proceed with their plan to rile up the crowd

at the January 6 rally and direct them to march on the United States Capitol to stop Congress from

certifying the election results. One after another, TRUMP’s inner circle, including a number of

co-conspirators, took the stage at the January 6 rally in front of thousands of supporters. Each of

them repeated the false narrative of a stolen election and, using threats and violent rhetoric, urged

the crowd to march to the Capitol and fight the election results. Giuliani spoke before TRUMP,

falsely telling the crowd that they would find proof that the election was stolen, that it was

“perfectly legal” for Pence to unilaterally take action to prevent Congress from counting the

electoral votes, and that Pence’s failure to do so was treasonous. Then, Giuliani instructed the

crowd to take violent action to stop the Congressional count of electoral votes and declaration of

Biden’s and Harris’s election, telling them: “If we’re right, a lot of them will go to jail. So, let’s

have trial by combat. I’m willing to stake my reputation, the President is willing to stake his

reputation, on the fact that we’re going to find criminality there . . . I’ll be darned if they’re going

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to take our free and fair vote . . . We’re going to fight to the very end to make sure that doesn’t

happen.” (Emphasis added).

       106.    TRUMP was the final speaker at the January 6 rally. When he took the stage at

12:00 p.m., Congress’s legally required count of Electoral College votes was just one hour away,

and the crowd was visibly agitated and riotous. He falsely told the crowd that the election had

been “rigged . . . like they’ve never rigged an election before,” that their “election victory” was

being stolen by “emboldened radical left Democrats” and “the fake news media,” and that “we

will never give up” or “concede,” because “you don’t concede when there’s theft involved.” He

told the crowd: “We must stop the steal and then we must ensure that such outrageous election

fraud never happens again, can never be allowed to happen again.” During TRUMP’s speech,

TRUMP FOR PRESIDENT tweeted, “President @realDonaldTrump: STOP THE STEAL!”

       107.    Contrary to the permit’s explicit prohibition of a march, TRUMP FOR

PRESIDENT retweeted several tweets referring to the event as a march. TRUMP directed the

crowd to march on the Capitol, even though TRUMP knew members of the crowd had threatened

to use violence to stop the Congressional count of the electoral votes. TRUMP even told the crowd

that he would join them in their march on the Capitol, in an apparent effort to increase the number

of people who would join:

       After this, we’re going to walk down, and I’ll be there with you. We’re going to
       walk down. We’re going to walk down any one [sic] you want, but I think right
       here. We’re going to walk down to the Capitol, and we’re going to cheer on our
       brave Senators, and Congressmen and women. We’re probably not going to be
       cheering so much for some of them because you’ll never take back our country
       with weakness. You have to show strength, and you have to be strong.

(Emphasis added).

       108.    TRUMP knew the crowd would, and did, understand his speech and those of other

speakers to be a provocative call to action, and as instructions to proceed directly to the United


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States Capitol and use force, intimidation, and threats to stop the count of electoral votes. Knowing

all this, and in a calculated attempt to provide himself with cover, TRUMP said, “everyone here

will soon be marching over to the Capitol Building to peacefully and patriotically make your voices

heard.” The crowd had heard his many overtures to use violence and intimidation to stop the

Congressional count of electoral certificates, as well as those of other Defendants, his agents, and

other co-conspirators. And, predictably, his speech achieved its desired purpose. In response to

TRUMP, the crowd shouted, “Storm the Capitol,” “Invade the Capitol Building,” “Take the

Capitol right now!” and “Fight! Fight! Fight!” Neither TRUMP nor any other speaker disabused

the crowd of these intentions, cautioned them not to storm the Capitol, or directed them to follow

the orders of the police.

       109.    TRUMP only escalated his rhetoric and urged that severe action must be taken—

telling the crowd that “[w]hen you catch somebody in a fraud, you’re allowed to go by very

different rules . . . Something’s wrong here, something is really wrong, can’t have happened and

we fight, we fight like hell, and if you don’t fight like hell, you’re not going to have a country

anymore.” The crowd again shouted its agreement, chanting, “Fight like Hell! Fight for Trump!”

       110.    Seeing that the crowd had turned into an angry mob ready to employ violence,

TRUMP directed them to “walk down Pennsylvania Avenue” to give “weak” Republicans “pride

and boldness . . . to take back our country!” TRUMP intended his words as directions to march

on the Capitol to stop the Congressional count of electoral votes and the declaration of Biden’s

and Harris’s election, knowing that Defendants would use force, intimidation, and threats to

prevent these things. And, of course, they did just that.

       111.    It was foreseeable that TRUMP’s directions to use force, intimidation, and threats

would result in injuries to Plaintiffs and other law enforcement officers protecting the Capitol.



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       112.     TRUMP knew of the prospect for violence, he encouraged it, and during his speech

the crowd shouted about storming and taking the Capitol. And TRUMP knew that Plaintiffs and

other law enforcement officers would be among those individuals standing between the violent

mob he had created and the stated goal of “tak[ing] back our country.”

       B.      Defendants Storm and Attack the Capitol

       113.    At approximately 1:00 p.m. on January 6, Congress convened to count the Electoral

College votes and announce Biden’s and Harris’s election. Congress’s count of the electoral votes

was a mere formality. But as a result of TRUMP’s and other Defendants’ repeated claims of

election fraud in the 2020 Presidential election, several members of Congress lodged objections,

particularly as to the votes in many states that have areas with large Black populations. These

objections were being heard separately on January 6 in the House and Senate chambers when the

attackers began marching to the Capitol. While this was ongoing, some attackers, including many

members of PROUD BOYS and OATH KEEPERS, had already gathered near the Capitol, ready

to lead the crowd arriving from the January 6 rally in an attack.

       114.    The attackers, including those who assembled at the Capitol, were well coordinated.

They marched to the Capitol wearing communications devices, reinforced vests, helmets, heavy

gloves, and goggles. They split into small groups, maintaining contact through law-enforcement-

style radios, and pushed past the Capitol barriers from multiple entry points to disguise their

coordinated attack and force police officers to defend the Capitol on multiple fronts. A unit of

OATH KEEPERS, including WATKINS, assembled at the Capitol and maneuvered to the

Capitol’s east steps. They marched with one hand on the shoulder of the Oath Keeper in front of

them. Around that time, WATKINS stated that they “have about 30-40 of us. We are sticking

together and sticking to the plan.” Approximately 300 members of PROUD BOYS, including a



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group led and directed by BIGGS and NORDEAN, also assembled near the Capitol,

communicating through ear pieces and walkie-talkie-style communications devices. As they

assembled, a member of PROUD BOYS yelled, “Let’s take the f**king Capitol!” and was told by

another member, “Don’t yell it. Do it!” Members of PROUD BOYS’ Ministry of Self Defense,

including NORDEAN, BIGGS, DONOHOE, and REHL, communicated with one another and

with TARRIO—who was not physically present at the Capitol given his arrest on January 4,

2021—to coordinate the attackers’ movements. REHL, donning goggles and equipped with a

radio, led more members of PROUD BOYS to the west side of the Capitol where, just before 1:00

p.m., REHL and other co-conspirators charged over barricades, overwhelmed law enforcement,

and entered the Capitol.

       115.    As planned, these Defendants then used the crowd arriving from the January 6 rally

as cover and to reinforce their numbers so they could overwhelm law enforcement. Thus, when

the crowd from the rally began to arrive on the Capitol’s western lawn, a group of PROUD BOYS

members led by BIGGS and NORDEAN joined the crowd. Together they surged toward the

Capitol barricades and began their assault on the Capitol Police officers.

       116.    Defendants, including members of PROUD BOYS, actively directed the attackers.

Several PROUD BOYS saw that there were only a few officers guarding the stairs on the west side

and started chants of “take the stairs” to direct the mob toward the stairs. The mob followed the

orders, headed in that direction, and pushed through those officers toward the Capitol entrances at

the top of the stairs. STRAKA, at one of the Capitol entrances where the crowd had amassed,

participated in the attack and yelled directions to fellow attackers to take a protective shield from

the hands of a Capitol police officer trying to protect himself. CALDWELL wrote in a Facebook

message around this time, “We are surging forward. Doors breached.” CALDWELL later



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recounted, “[I] said let’s take the damn capitol so people started surging forward and climbing the

scaffolding outside so I said lets storm the place and hang the traitors. Everybody thought that was

a good idea so we did. . . . If we’d had guns I guarantee we would have killed 100 politicians.”

       117.    Defendants, their co-conspirators, and the rest of the mob overwhelmed United

States Capitol Police officers, broke through the Capitol’s outer barricades, and assaulted the

officers, including Plaintiffs, in and outside the Capitol. The attackers broke the Capitol’s

windows with metal poles and riot shields seized from officers, threw explosives, and sprayed

mace and bear spray. With help from DONOHOE, PEZZOLA and another PROUD BOY reached

the building, used a Capitol Police shield to break a Capitol window, and climbed through—

marking one of the attackers’ first physical breaches into the Capitol. Shortly after the Capitol was

breached, TARRIO messaged another PROUD BOY, saying, “Make no mistake . . . we did this.”

       118.    More attackers arrived at the Capitol from the Ellipse, following TRUMP’s

instructions to “march” on the Capitol and take matters into their own hands. Many attackers wore

helmets and full tactical gear; some carried baseball bats, poles, hockey sticks, crutches, fifty-

pound fire extinguishers, and sledgehammers. They had flex handcuffs and climbing gear and

were equipped with radio systems, stun guns, explosives, knives, and guns.                Starting at

approximately 2:12 p.m., as members of Congress continued debating objections to the electoral

vote, the attackers breached the Capitol en masse.

       119.    At this point, the Senate was called into emergency recess and the House adjourned,

as Secret Service agents ushered Vice President Pence off the Senate floor and Capitol Police

evacuated House Speaker Nancy Pelosi from the House Rostrum. Congressional staff rushed the

physical electoral votes in locked trunks to hidden locations to prevent their seizure or destruction.

By forcing members of Congress and their staff to retreat from the Capitol in search of safety,



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Defendants successfully halted the Congressional count and announcement of Biden’s and Harris’s

victory for several hours, while TRUMP and other Defendants worked to delay the count further

in an effort to prevent Biden and Harris from taking office.

       120.    The attackers closely followed and responded to TRUMP’s speech and tweets

before and during the Capitol Attack. When TRUMP said “walk down to the Capitol,” the

attackers at the Capitol interpreted it as TRUMP sending reinforcements. As TRUMP’s speech

played from a loudspeaker, one man said, “There’s about a million people on their way now.” And

when the Attack was underway, a woman urged rioters to climb through a broken window by

telling them to “stand up for our country and Constitution”—echoing an earlier tweet from

TRUMP. At another part of the Capitol, as police officers were pushing to clear the mob, a rioter

screamed at the officers: “I was invited here by the President!”

       121.    A strong current of white supremacist sentiment fueled the Capitol Attack and

surged through the United States Capitol. Many Black law enforcement officers protecting the

Capitol were assaulted, threatened, spat on, and subjected to racial slurs. In a striking example,

one attacker marched through the Capitol’s halls displaying an unfurled Confederate flag, a symbol

of white supremacy and racism. Across the Capitol grounds, attackers brazenly displayed other

symbols of white supremacy, flashing white power hand symbols and displaying anti-Semitic

imagery and slogans on their clothes.

       122.    Defendants’ attack continued into the afternoon. Attackers climbed over balconies,

erected gallows with a noose in front of the Capitol, and assaulted law enforcement with rocks,

bottles, metal poles, bear spray, pepper spray, and other weapons. Officers reported being

“flanked” and “los[ing] the line.” They sent countless calls for assistance. For hours, they engaged

in brutal, bloody, hand-to-hand combat to prevent more attackers from entering the Capitol.



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       123.     TAYLOR and HOSTETTER, who were communicating with Three Percenters

(including KINNISON, MELE, WARNER, and MARTINEZ) through the DC Brigade Telegram

chat, joined attackers who were trying to push through a line of law enforcement at the Lower

West Terrace of the Capitol. TAYLOR, carrying a knife in the front chest pocket of a plate carrier

vest, urged on the other attackers, saying, “Move forward Americans!” They pushed through to

the Upper West Terrace, where TAYLOR yelled to other attackers, “Inside!” MARTINEZ,

wearing a plate-carrier vest, and KINNISON, wearing a gas mask, then joined them on the Upper

West Terrace.

       124.     WATKINS and at least six others, outfitted in paramilitary equipment, helmets,

reinforced vests, and clothing with OATH KEEPERS paraphernalia, moved in an organized,

practiced fashion as they forced their way through the United States Capitol doors.

       125.     WARNER and others entered the Capitol through a broken window.

       126.     Once inside, the attackers desecrated the Capitol. They ransacked Congressional

leadership offices, breaking windows and furniture and stealing electronics and other sensitive

material. They defaced the walls, looted art, urinated and smeared feces in hallways, and wrecked

monuments. They destroyed a memorial honoring the late Representative John Lewis, a Black

Congressman who promoted civil and voting rights, ripping his portrait into shreds.

       127.     Some Defendants, other co-conspirators, and attackers planned to capture, assault,

and even kill members of Congress. During the Capitol Attack, as the mob penetrated deeper into

the Capitol, CALDWELL received a message informing him that “[a]ll members are in the tunnels

under capital [sic] seal them in” and telling him to “[t]urn on gas.” Several attackers carried

handcuffs to capture members of Congress. On the walkie-talkie app Zello, used by OATH

KEEPERS for real-time communication, a person told OATH KEEPERS inside the Capitol, “You



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are executing citizen’s arrest. Arrest this assembly, we have probable cause for acts of treason,

election fraud.”

          128.   As some Defendants and their fellow attackers searched for members of Congress,

Plaintiffs and other police officers and Capitol security took urgent and immediate steps to secure

the physical safety of members of Congress and other individuals in the Capitol. Plaintiffs Smith,

Latson, and Evans, along with other Capitol Police officers, worked to secure the House and Senate

chambers, protecting the members of Congress and their staff inside. Some Defendants attempted

to break into the House Chamber, but Capitol Police officers, including Plaintiff Smith, barricaded

the doors with furniture. Members of the House and their staff huddled with gas masks to protect

themselves from the pepper spray, bear spray, fire extinguishers, and other chemical munitions

that Defendants and others were spraying into the air. Other Defendants attempted to break into

the Senate Chamber and assaulted the Capitol Police Officers securing it, including Plaintiff

Latson.

          129.   Throughout and immediately after the Capitol Attack, Defendants expressed pride

in breaching the Capitol and in achieving their goal of halting the count of the electoral votes.

CALDWELL sent social media messages boasting he was “such an instigator,” his wife “[d]idn’t

even mind the tear gas,” and that “Proud Boys scuffled with cops and drove them inside to hide.

Breached the doors. One guy made it all the way to the house floor, another to Pelosi’s office. A

good time.” PEZZOLA was captured on video smoking inside the Capitol and saying: “Victory

smoke in the Capitol, boys. This is f**king awesome. I knew we could take this motherf**ker

over if we just tried hard enough.” TAYLOR posted to a Telegram chat, “I was pushing through

traitors all day today. WE STORMED THE CAPITOL! Freedom was fully demonstrated today!”

HOSTETTER posted a photo of him and TAYLOR on the Upper West Terrace of the Capitol to



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an American Phoenix Project social media account with the message, “This was the ‘shot heard

round the world.’ . . . the 2021 version of 1776. That war lasted 8 years. We are just getting started.”

MELE said in a video at the steps next to the Upper West Terrace, “We stormed the Capitol.”

TARRIO posted that PROUD BOYS controlled the Capitol and to “Come and Take it!” and “Don’t

f**king leave.” NORDEAN posted on Telegram that “Patriots” should “Take honor in knowing

YOU were chosen to live in these times and lead” and that they were “warriors of God.”

DONOHOE wrote on Telegram that January 6 made him “feel like a complete warrior,” and told

fellow PROUD BOYS that he “stood on that front line the entire time and pushed it twice.” REHL

sent a private message that he was “proud as f**k what we accomplished yesterday,” and a public

message saying, “THIS is what patriotism looks like.” In that same public message, REHL

condemned the law enforcement officers who sought to defend the Capitol, stating, “They deserve

to be tarred and feathered.” After attacking police and forcing his way into the Capitol, BIGGS

exclaimed, “This is awesome!”

       130.    Defendants who were not physically at the Capitol similarly boasted about the

success of the Attack. A Telegram account called Proud Boys USA—the most-followed PROUD

BOYS account on the platform and maintained by PROUD BOYS leaders such as TARRIO—

posted, “Doesn’t look like they’re destroying the capital [sic]. Looks like they’re liberating it. God

bless America and all her patriots,” and “PATRIOTS ARE STORMING THE CAPITAL [sic].”

TARRIO also gloated, in the caption of a photo of Congressional staff members hiding from the

mob, that there is only liberty and not tyranny “[w]hen the government fears the people. . . .” And

TARRIO posted on Parler that he was “Proud Of My Boys and my country.” ALEXANDER

similarly released a video proclaiming, “Stopthesteal.us is gonna be the home of the rebellion

against an illegitimate government.” Exiting the Capitol, one attacker screamed, “Yeah, we



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stopped the vote!”—one more confirmation that the attackers were acting in furtherance of

TRUMP’s efforts to stop the electoral vote count.

       131.    Before, during, and after the Capitol Attack, the attackers (including many

Defendants) made clear that they were acting at TRUMP’s direction.              Before the Attack,

WATKINS sent a message stating, “Trump wants all able bodied Patriots to come” to Washington,

D.C., on January 6, and MELE said he was “arriving January 5 [in Washington, D.C.,] to support

our President on the 6th and days to follow just in case.” During the Attack, the attackers played

TRUMP’s speech on a bullhorn, read his tweets aloud, and told United States Capitol Police

officers they were “listening to Trump—your boss,” and that they were “invited here by the

President of the United States.” After the Attack, NORDEAN wrote he was “facing jail time cuz

we followed [TRUMP’s] lead and never questioned it.” PEZZOLA’s attorneys wrote that

PEZZOLA was “responding to the entreaties of [TRUMP],” and that he was “misled” by

TRUMP’s “deception”; CALDWELL’s attorneys wrote that CALDWELL came to Washington,

D.C., “at the urging of [TRUMP]”; and WATKINS’s attorneys wrote that WATKINS “believed

[TRUMP] was calling upon her.” Other attackers later said they came to Washington, D.C.,

because “Trump said, patriots, go to D.C.,” “The President asked his supporters to be there,” and

“President Trump is calling us to FIGHT!”

       C.      TRUMP Ratifies the Capitol Attack

       132.    While the Capitol Attack raged, TRUMP, who reportedly was watching live

television coverage of the Attack, refused to call off the attackers, whom he had personally directed

to the Capitol just moments before. Instead, TRUMP used the Attack and the delay it caused to

the Congressional counting to further his efforts to stop the electoral vote count. At 1:49 p.m.—

an hour after attackers overwhelmed the perimeter barricades and only twenty minutes before they



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breached the Capitol doors—TRUMP tweeted a video of his incendiary speech from the January

6 rally. The attackers later told Capitol Police officers they were listening to the speech during the

Attack.

          133.   Half an hour later, as news networks and social media widely broadcast images of

the Attack, instead of taking actions to call off the attackers, TRUMP egged them on, tweeting at

2:24 p.m. that Pence’s willingness to certify the 2020 election results was due to his lack of

“courage to do what should have been done to protect our Country and our Constitution”:




          134.   TRUMP’s tweet attacking Pence was repeated by attackers at the Capitol on

megaphones, who took it as a directive to find and kill the Vice President. They started chanting,

“Hang Mike Pence!” “Mike Pence is a B*tch!,” and “Mike Pence, we’re coming for you . . .

f**king traitor!” Another attacker later recounted, “Once we found out Pence turned on us and

that they had stolen the election, like, officially, the crowd went crazy.”

          135.   TRUMP knew that the situation at the Capitol was dire, that Congress had stopped

its count of the electoral votes, and that the lives of members of Congress, police officers, and

others were in jeopardy. Around 2:26 p.m. that day, TRUMP called Senator Mike Lee in an

attempt to reach Senator Tommy Tuberville. Senator Lee handed the phone to Senator Tuberville,

who said, “Mr. President, they’ve taken the Vice President out. They want me to get off the phone,

I gotta go.”



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       136.    Throughout the Attack, TRUMP ignored repeated requests to call off the attackers.

House Minority Leader Kevin McCarthy called TRUMP during the Attack, begging him to call

off the attackers. TRUMP refused. Instead, TRUMP told McCarthy, “Well, Kevin, I guess these

people are more upset about the election than you are.”

       137.    TRUMP did not condemn the attackers. To the contrary, he praised them, ratified

their actions, and continued to spread baseless claims of voter fraud. Not until 4:17 p.m.—two

hours after the initial breach of the Capitol—did TRUMP finally tweet a video in which he told

the attackers to go home. But even in that video, TRUMP communicated that he supported the

actions of the attackers and repeated false claims of election fraud: “I know your pain, I know

you’re hurt. We had an election that was stolen from us. It was a landslide election, and everyone

knows it, especially the other side,” whom TRUMP called “so bad and so evil.” TRUMP then told

the attackers, “We love you. You’re very special.” And at 6:01 p.m., TRUMP again falsely cried

fraud and praised the Attack:




       D.      Defendants Persist in Their Conduct Despite Widespread Condemnation

       138.    After hours of being forced into hiding, Congress returned to a desecrated Capitol

Building, which was now littered with blood, feces, debris, and broken glass, to continue certifying

the election results. They were accompanied and protected by the same police officers who had

saved their lives earlier that day. Congress finished counting the electoral votes by approximately

3:24 a.m. on the morning of January 7, 2021.

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       139.    In the aftermath of the Capitol Attack, TRUMP showed no remorse for, and issued

no repudiation of, the Attack. Instead, TRUMP and many Defendants have continued trying to

effectuate their goals and defend the attackers. The very evening of the Capitol Attack, after the

count had resumed, Giuliani—on behalf of TRUMP—attempted to call and left a voicemail

message intended for Senator Tuberville asking him to try to slow down the counting of electoral

votes. Several days later, on January 12, 2021, TRUMP told reporters his pre-insurrection speech

at the January 6 rally had been “totally appropriate.”

       140.    To this day, TRUMP has continued to press false claims of election fraud, to

encourage his supporters to fight, and to claim falsely that the election will be reversed and he will

be reinstated as President. TRUMP has also continued to express agreement with the attackers

since the Capitol Attack. When questioned about the attackers in a March 2021 interview, TRUMP

stated, “Personally, what I wanted is what they wanted.” And in an appearance on Fox News in

July 2021, he described the attackers as “great people.”

       141.    Other Defendants have done the same. On January 6, as the Capitol Attack was

underway, ALEXANDER shared a video overlooking the Capitol and said, “I don’t disavow this.

I do not denounce this.” The Proud Boys USA Telegram account has posted messages calling for

“all political prisoners of 1/6/21” to be freed, and saying military personnel participated in the

Capitol Attack because “military personnel are typically patriots as f**k.” TARRIO has similarly

posted on Telegram that PROUD BOYS arrested in connection with the Capitol Attack were

“political prisoners” and called for their release. On July 1, 2021, he also posted on another site,

“Hey when’s the next riot?” On July 7, 2021, he posted to Telegram an FBI “seeking information

poster” with the title, “Assault on Federal Officers and Violence at the United States Capitol.

Washington, D.C., January 6, 2021” and captioned the poster, “I did this.” As recently as July 10,



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2021, members of PROUD BOYS and OATH KEEPERS—including TARRIO—gathered on the

steps of the Florida State Capitol to call for the release of the “political prisoners” arrested in

connection with January 6. After the Attack, CALDWELL said, “We need to do this at the local

level. Lets storm the capitol in Ohio. Tell me when!”

V.      Plaintiffs’ Injuries

     142.      Under 2 U.S.C. § 1961, United States Capitol Police had lawful obligations to

police and protect the Capitol and its grounds.

     143.      Officer Smith, who is Black, arrived at his post on January 6 at 7:00 a.m. and was

stationed in the House Chamber when Defendants and other attackers breached the Capitol. As

Defendants and their co-conspirators tried to fight their way into the House Chamber, Officer

Smith helped barricade the doors of the House Chamber and instructed the members of Congress

and staff whom he was protecting to stay together and don gas masks. Officer Smith helped

evacuate members of Congress from the House Chamber and returned to the House Chamber when

Congress resumed its counting of the electoral votes. Officer Smith suffered physical injury from

exposure to noxious pepper spray, bear spray, fire extinguishers, and other pollutants sprayed by

attackers. In addition, Officer Smith suffered emotional injuries from Defendants’ actions and

those of their co-conspirators.

     144.      Sergeant McElroy, who is Black, worked from 10:00 p.m. on January 5 until 6:00

a.m. on January 6. He was not scheduled to return to work at the Capitol until late that evening,

but upon hearing of the Capitol Attack, he rushed back to support his colleagues in protecting the

Capitol and its occupants. He joined a group of Capitol Police officers at the north door to the

Capitol and then responded to a call for officers at the Lower West Terrace door area. When he

arrived at each area, he was immediately hit by clouds of mace and bear spray from Defendants



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and their co-conspirators, due to which he and other police officers had to periodically leave the

line to wash out their eyes. He took into custody one of the attackers who made it into the Capitol,

and recovered a knife, a radio, and several phones. The attacker was also wearing a flak vest.

Sergeant McElroy suffered physical injury from exposure to noxious pepper spray, bear spray, fire

extinguishers, and other pollutants sprayed by attackers. In addition, Sergeant McElroy suffered

emotional injuries from Defendants’ actions and those of their co-conspirators.

       145.    Officer Evans, who is Black, was in the Senate Chamber when Defendants and

other attackers breached the Capitol. Officer Evans helped secure the Senate Chamber and was

locked in with senators. Before Defendants and other attackers fought their way into the Senate

Chamber, Officer Evans led some of the Senators to a secure room, where he continued to guard

their safety. Officer Evans returned to the Capitol that day to resume his post so that Congress

could resume the count. Officer Evans suffered physical injury from exposure to noxious pepper

spray, bear spray, fire extinguishers, and other pollutants sprayed by attackers. In addition, Officer

Evans suffered emotional injuries from Defendants’ actions and those of their co-conspirators.

       146.    Officer Latson, who is Black, was also in and helping to secure the Senate Chamber

when Defendants and other attackers breached the Capitol. Officer Latson remained in the Senate

Chamber and worked to secure it after it was evacuated. As Officer Latson attempted to secure

the third-floor doors to the Senate Chamber with other officers, a crowd of attackers attempted to

enter through the doors. One attacker shoved Officer Latson during this altercation. Attackers

then breached the Senate Chamber, physically assaulted Officer Latson, and hurled racial slurs at

him, including “n****r.” Officer Latson eventually returned to the Capitol that day to resume his

post so that Congress could resume the count. Officer Latson suffered physical injury from being

physically struck by attackers and from exposure to noxious pepper spray, bear spray, fire



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extinguishers, and other pollutants sprayed by attackers. In addition, Officer Latson suffered

emotional injuries from Defendants’ actions and those of their co-conspirators.

       147.    Officer Marshall, who is white, reported for her shift in the First Responder Unit

just before 7:00 a.m. on January 6. After hearing on the radio that the west front had been breached

by Defendants and their co-conspirators, Officer Marshall went to the west side of the Capitol.

With help from other officers, she tried to secure the upper part of the steps with bike racks, helped

evacuate workers who had been building the inauguration stage, and attempted to hide the workers’

construction tools so that attackers would not use them as weapons against her fellow officers.

While Officer Marshall was trying to secure the upper steps, the attackers, pushing and fighting

with officers, overwhelmed her and her colleagues. A colleague came to Officer Marshall with a

head injury, and Officer Marshall helped her injured colleague around the building to the east side

where she could gain access to the building and take her colleague to a triage area. Inside, Officer

Marshall saw attackers assaulting other officers. As Officer Marshall was telling people to exit

the Capitol, an attacker physically assaulted her. In addition, Officer Marshall suffered further

physical injury from exposure to noxious pepper spray, bear spray, fire extinguishers, and other

pollutants sprayed by attackers, and emotional injuries including, but not limited to, post-traumatic

stress, from Defendants’ actions and those of their co-conspirators. In addition, Officer Marshall

suffered emotional injuries from Defendants’ actions and those of their co-conspirators.

       148.    Officer Fortune, who is Black, arrived at the Capitol at approximately 4:00 p.m. on

January 6, and made his way through a crowd while hearing racial slurs directed at him, including

“n****r.” He had to force his way through the attackers and injured officers to join his unit. When

he arrived at the Capitol, he saw that it was like a war zone, with chemical fog in the air, tables

flipped, statues defaced, feces on the walls, and blood and broken glass on the floors. For the next



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several hours, while inhaling a smog of chemical pollutants and sustaining burns from those

chemicals, Officer Fortune helped clear the Capitol of remaining attackers, search for any hidden

improvised explosive devices, and carry injured officers to a triage center for medical treatment.

Officer Fortune ended his shift at approximately 8:00 a.m. to 9:00 a.m. the next morning. Officer

Fortune suffered physical injury from exposure to noxious pepper spray, bear spray, fire

extinguishers, and other pollutants sprayed by attackers. In addition, Officer Fortune suffered

emotional injuries from Defendants’ actions and those of their co-conspirators.

       149.    Officer DeRoche, who is white, reported for his shift checking cars approaching

the Senate side of the Capitol at approximately 7:00 a.m. on January 6. Upon hearing that the

police line had been breached, he rushed to the west side of the Capitol. With help from other

officers, he tried to secure the upper part of the steps with bike racks, helped evacuate workers

who had been building the inauguration stage, and attempted to hide the workers’ construction

tools so that attackers would not use them as weapons against his fellow officers. He eventually

confronted the attackers on the north side of the west front steps. There, Defendants and their co-

conspirators threw batteries at Capitol Police officers and attacked them with bear spray and mace,

which caused Officer DeRoche’s eye to swell shut. In the rush to regroup after his position was

overrun, Officer DeRoche injured his arm. After rinsing his eyes, Officer DeRoche went to protect

the Senate door around the northeast side of the Capitol carriageway, where he was hit by clouds

of tear gas. Officer DeRoche remained at his post until 11:30 p.m. that night. Officer DeRoche

suffered physical injury from the assault by the attackers and from exposure to noxious pepper

spray, bear spray, fire extinguishers, and other pollutants sprayed by attackers. In addition, Officer

DeRoche suffered emotional injuries from Defendants’ actions and those of their co-conspirators.

                               *                  *                 *



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        150.   As set forth in this Complaint, Defendants and their co-conspirators caused

Plaintiffs’ injuries by causing the mass attack on the Capitol. Defendants directed, incited, aided,

and abetted attackers to break through police lines, to overwhelm and assault Plaintiffs and their

fellow police officers, and to put Plaintiffs and their fellow police officers in reasonable fear for

their lives. Many Defendants and co-conspirators participated in the Attack. Defendants all failed

and neglected to take action to prevent or aid in preventing the violence that caused Plaintiffs’

injuries.

                                     CLAIMS FOR RELIEF

                                       COUNT I
Ku Klux Klan Act (42 U.S.C. § 1985(1)) – CONSPIRACY TO INTERFERE WITH CIVIL
                                        RIGHTS
                        (All Plaintiffs against All Defendants)

        151.   Plaintiffs incorporate herein by reference the allegations contained in all preceding

paragraphs.

        152.   The Ku Klux Klan Act, 42 U.S.C. § 1985(1), provides for recovery for individuals

injured by conspiracies “to prevent, by force, intimidation, or threat, any person from accepting or

holding any office, trust, or place of confidence under the United States, or from discharging any

duties thereof; or to induce by like means any officer of the United States to leave any State,

district, or place, where his duties as an officer are required to be performed, or to injure him in

his person or property on account of his lawful discharge of the duties of his office, or while

engaged in the lawful discharge thereof . . . .”

        153.   The acts and circumstances alleged above in this Complaint demonstrate the

following.

        a.     Each Defendant agreed with one or more other persons to prevent, by force,
               intimidation, and threats, (1) members of Congress, Congressional staff, or United
               States Capitol Police officers from discharging their lawful duties as officers of the


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               United States and holders of an office, trust, or place of confidence under the United
               States, or (2) President Biden and Vice President Harris from accepting or holding
               an office, trust, or place of confidence under the United States.

       b.      Each Defendant agreed with one or more other persons to injure a member of
               Congress or a United States Capitol Police officer on account of their lawful
               discharge of their duties as officers of the United States, or to injure them while
               they were engaged in the lawful discharge thereof.

       c.      Each Defendant agreed with one or more other persons to induce by force,
               intimidation, or threat, members of Congress, Congressional staff, or United States
               Capitol Police officers to leave a place, where their duties as officers were required
               to be performed.

       154.    The acts and circumstances alleged above in this Complaint further demonstrate the

commission of an overt act in furtherance of each such agreement, and each Defendant’s

intentional participation in the furtherance of the agreement.

       155.    The acts and circumstances alleged in this Complaint establish that Defendants

conspired with each other and others to accomplish the objectives detailed in this Complaint,

including through the following agreements:

       a.      TRUMP agreed with TRUMP FOR PRESIDENT, STOP THE STEAL,
               ALEXANDER, STRAKA, STONE, PROUD BOYS, PBI, TARRIO, NORDEAN,
               BIGGS, REHL, DONOHOE, PEZZOLA, OATH KEEPERS, RHODES,
               CALDWELL, WATKINS, MEGGS, HOSTETTER, TAYLOR, MELE, and JOHN
               DOES;

       b.      TRUMP FOR PRESIDENT agreed with STOP THE STEAL and ALEXANDER;

       c.      STOP THE STEAL and ALEXANDER agreed with STRAKA, STONE, PROUD
               BOYS, PBI, TARRIO, NORDEAN, RHODES, MEGGS, OATH KEEPERS,
               HOSTETTER, and TAYLOR;

       d.      STRAKA agreed with STONE;

       e.      STONE agreed with PROUD BOYS, PBI, TARRIO, NORDEAN, OATH
               KEEPERS, RHODES, MEGGS, and HOSTETTER;

       f.      PROUD BOYS, PBI, TARRIO, NORDEAN, BIGGS, REHL, DONOHOE, and
               PEZZOLA agreed with OATH KEEPERS, CALDWELL, and MEGGS;



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       g.      TARRIO, NORDEAN, BIGGS, REHL, DONOHOE, and PEZZOLA agreed with
               each other and other PROUD BOYS and PBI members;

       h.      RHODES, CALDWELL, WATKINS, and MEGGS agreed with each other and
               other members of OATH KEEPERS; and

       i.      HOSTETTER, TAYLOR, WARNER, MARTINEZ, KINNISON, and MELE
               agreed with each other.

       156.    TRUMP, in his personal capacity, TRUMP FOR PRESIDENT, STOP THE

STEAL, PROUD BOYS, PBI, and OATH KEEPERS are vicariously liable for the violations of

section 1985(1) by their agents, each of whom acted within the scope of their agency.

       157.    As a result of acts committed in furtherance of the conspiracies identified above,

each Plaintiff suffered and continues to suffer injuries to their person, including physical and

emotional injuries, as described above.

                                        COUNT II
   Ku Klux Klan Act (42 U.S.C. § 1986) – FAILURE TO PREVENT CONSPIRACY TO
                         INTERFERE WITH CIVIL RIGHTS
                         (All Plaintiffs against All Defendants)

       158.    Plaintiffs incorporate herein by reference the allegations contained in all preceding

paragraphs.

       159.    Section 6 of the Ku Klux Klan Act (42 U.S.C. § 1986) makes liable any person who

knows that the wrongs conspired to be done and mentioned in section 1985 are about to be

committed, has the power to prevent or aid in preventing those wrongs, and yet neglects or refuses

to help prevent them.

       160.    Each Defendant had knowledge that the wrongs conspired to be done, as set out in

Count I, were about to be committed, and neglected or refused to prevent or aid in preventing those

wrongs.




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       161.    Each such Defendant was in a position and had the power to prevent, or aid in

preventing, the wrongs conspired to be done as asserted in Count I.

       162.    TRUMP, in his personal capacity, had the power to prevent or to aid in preventing

the wrongs conspired to be done as asserted in Count I by, among other things: directing his

campaign, personal attorneys, and political supporters, including TRUMP FOR PRESIDENT and

Giuliani, not to disseminate false claims of election fraud or pursue legal actions advancing such

false claims, and avoiding doing so himself; not employing intimidation and threats to prevent the

counting and certification of popular and electoral votes by certain states, the counting of electoral

votes by Congress, and Biden and Harris from taking office; and directing his supporters to abide

by all laws and the directives of law enforcement officers while rallying near the United States

Capitol. Had TRUMP instructed the mob to cease the Attack and leave the Capitol and its grounds

after it began, he could have prevented or aided in preventing harms resulting from the unlawful

conspiracy.   Any such reasonable diligence by TRUMP could have prevented or aided in

preventing the wrongs conspired to be done as described in this Complaint, and the damages

suffered by Plaintiffs as a result of those wrongs. TRUMP neglected to take such actions or make

other reasonably diligent efforts.

       163.    ALEXANDER, STONE, and STRAKA each had the power to prevent or aid in

preventing the wrongs conspired to be done as asserted in Count I by, among other things, not

raising funds to disseminate false claims of election fraud and to hold Stop the Steal rallies, or

instructing the attackers, including members of PROUD BOYS and OATH KEEPERS, not to

attack the Capitol and to comply with all police directives concerning access to the Capitol

grounds. They further failed to aid in preventing the wrongs conspired to be done by neglecting

and failing to alert law enforcement authorities of the unlawful conspiracy. Any such reasonable



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diligence by ALEXANDER, STONE, or STRAKA could have prevented or aided in preventing

the wrongs conspired to be done in this Complaint, and the damages suffered by Plaintiffs as a

result. These Defendants neglected to take such actions or make other reasonably diligent efforts.

       164.    TARRIO, NORDEAN, BIGGS, PEZZOLA, REHL, DONOHOE, RHODES,

CALDWELL, WATKINS, MEGGS, HOSTETTER, TAYLOR, WARNER, MARTINEZ,

KINNISON, MELE, and STRAKA each had the power to prevent or aid in preventing the wrongs

conspired to be done as asserted in Count I by, among other things, not attacking the United States

Capitol, instructing their followers and fellow attackers not to attack the Capitol, and informing

law enforcement of the plans to attack the Capitol to stop the count of electoral votes. Any such

reasonable diligence could have prevented or aided in preventing the wrongs conspired to be done

in this Complaint, and the damages suffered by Plaintiffs as a result. These Defendants neglected

to take such actions or make other reasonably diligent efforts.

       165.    TRUMP, in his personal capacity, TRUMP FOR PRESIDENT, STOP THE

STEAL, PROUD BOYS, PBI, and OATH KEEPERS are vicariously liable for the violations of

section 1986 by their agents, each of whom acted within the scope of their agency.

       166.    Plaintiffs suffered their injuries and damages as a direct result of the neglect and

failure of each Defendant, separately and together, to prevent or aid in preventing, the wrongs

conspired to be done as described in this Complaint.

                                        COUNT III
     D.C. Code § 22-3704(a) – VIOLATION OF D.C. BIAS-RELATED CRIMES ACT
                          (All Plaintiffs against All Defendants)

       167.    Plaintiffs incorporate herein by reference the allegations contained in all preceding

paragraphs.




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           168.   The D.C. Bias-Related Crimes Act of 1989 (“BRCA”) provides a civil cause of

action for “any person who incurs injury to his or her person or property as a result of an intentional

act that demonstrates an accused’s prejudice based on the actual or perceived . . . political

affiliation of a victim” of a criminal act by the accused. D.C. Code § 22-3704(a).

           169.   Defendants are liable under BRCA in three independent ways, each demonstrating

their prejudice: Defendants (1) engaged in acts of terrorism in violation of the D.C. Anti-Terrorism

Act of 2002, D.C. Code § 22-3153; (2) engaged in rioting or incited a riot, in violation of D.C.

Code § 22-1322; or (3) engaged in destruction of property in violation of D.C. Code § 22-303.

           170.   Defendants’ criminal acts were motivated by political affiliation bias.

           171.   As a result of Defendants’ bias-motivated crimes, Plaintiffs were injured while

defending the Capitol.

           172.   Politically motivated violence is corrosive to our democracy––no matter the

targeted party––and must not be tolerated. Plaintiffs bring this claim without regard to the political

affiliation of Defendants or of Defendants’ intended victims. Defendants’ actions demonstrated

bias based on political affiliation, and Plaintiffs were injured as a result of those actions while

Plaintiffs were doing their jobs to defend the Capitol, all members of Congress, Congressional

staffers, Capitol employees, and others, regardless of the political affiliation of Plaintiffs or the

individuals they were defending.

           173.   The intended victims of Defendants’ criminal acts were Democratic members of

Congress, some Republican members of Congress, and Vice President Pence, whom Defendants

perceived to be endorsing Democrats Joe Biden and Kamala Harris by announcing the election

results.




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       174.    Defendants’ intentional acts demonstrated bias based on the political affiliations of

their victims, including bias against persons affiliated with the Democratic political party, persons

they perceived to be Democrats, persons endorsing Democrats, and persons they perceived to be

endorsing Democrats.

       Acts of Terrorism

       175.    The Capitol Attack was an act of terrorism in violation of the D.C. Anti-Terrorism

Act of 2002 (“ATA”). The ATA defines an act of terrorism as “an act or acts that constitute a

specified offense” intended to “intimidate or coerce a significant portion of the civilian population

of The District of Columbia [or] The United States” or to “influence the policy or conduct of a unit

of government by intimidation or coercion.” D.C. Code § 22-3152(1).

       176.    Defendants and their co-conspirators attempted to, conspired to, and did in fact

commit acts of terrorism in violation of D.C. Code § 22-3153(i) and (l). They committed and

conspired to commit malicious destruction of property, including to the United States Capitol

Building, its grounds, and its contents. The damage caused exceeds $500,000. This constitutes a

specified offense under the ATA.

       177.    Defendants engaged in these acts for the intended purpose of influencing the policy

or conduct of a unit of government by intimidation or coercion. They sought to intimidate or

coerce Congress to delay the counting of the electoral votes, compel members of Congress and

Vice President Pence to cast meritless doubt on the legitimacy of the election, overturn the results

of the election, or stop Biden and Harris from taking office.

       178.    Defendants also intended, through these acts, to intimidate or coerce a significant

portion of the civilian population of the United States. They sought to strong-arm the American




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public to accept the unlawful and undemocratic subversion of the 2020 Presidential election in

violation of law and in contravention of the demonstrated will of the electorate.

       Rioting and Inciting to Riot

       179.    Defendants and their co-conspirators attempted to, conspired to, aided and abetted,

or did in fact engage in rioting or inciting to riot, as prohibited by D.C. Code § 22-1322. On

January 6, they attempted to, conspired to, aided and abetted, or engaged in or incited a public

disturbance with more than five people—the Capitol Attack. The Attack involved tumultuous and

violent conduct, and the threat thereof, which created grave danger of damage or injury to property

or persons.

       180.    STRAKA, NORDEAN, BIGGS, PEZZOLA, REHL, DONOHOE, CALDWELL,

WATKINS, MEGGS, HOSTETTER, TAYLOR, WARNER, MARTINEZ, KINNISON, and

MELE engaged in the riot by joining with hundreds of attackers on the United States Capitol

grounds.

       181.    TRUMP, TRUMP FOR PRESIDENT, ALEXANDER, STONE, STRAKA, STOP

THE STEAL, PROUD BOYS, PBI, TARRIO, DONOHOE, OATH KEEPERS, and RHODES

incited or aided and abetted others to engage in a riot by their actions, as set forth above in this

Complaint.

       182.    As discussed in this Complaint, each Defendant further aided and abetted the

Capitol Attack by providing or soliciting funds, lodging, transportation, organization, equipment,

or other goods or services to help the rioters travel to Washington, D.C., at a set date and time and

attack the Capitol in a coordinated fashion.




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        Malicious Burning, Destruction, or Injury of Another’s Property

        183.      As set forth in this Complaint, Defendants and their co-conspirators attempted to,

conspired to, aided and abetted, or did in fact maliciously injure, break, or destroy property that

they did not own, worth more than $1,000, during the Capitol Attack, in violation of D.C. Code

§ 22-303.

                                              COUNT IV
                                               BATTERY
                                (All Plaintiffs against All Defendants)

        184.      Plaintiffs incorporate herein by reference the allegations contained in all preceding

paragraphs.

        185.      JOHN DOE Defendants and others intentionally and unlawfully attacked Plaintiffs

at the Capitol on January 6, 2021, as related above, causing harmful or offensive bodily contact to

all Plaintiffs.

        186.      All Defendants aided and abetted the batteries of Plaintiffs. Through their actions

as related above in this Complaint, including their encouragement and facilitation of the batteries,

each Defendant knowingly and substantially assisted the batteries. Each Defendant was aware of

their role as part of an overall illegal or tortious activity and of their involvement in creating a

violent atmosphere in which others might be physically injured.

        187.      TRUMP, in his personal capacity, TRUMP FOR PRESIDENT, STOP THE

STEAL, PROUD BOYS, PBI, and OATH KEEPERS are vicariously liable for the acts of their

agents, each of whom acted within the scope of their agency in committing this tort.

        188.      Each Defendant also conspired with one or more persons to cause harmful or

offensive bodily contact to Plaintiffs. As related above in this Complaint, each Defendant agreed

with at least one other person to take actions which would foreseeably result in battery of Capitol



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Police officers, including Plaintiffs, and Plaintiffs were injured as a result of the actions by co-

conspirators in furtherance of the conspiracy. Defendants are civilly liable to Plaintiffs for the

injurious actions of all co-conspirators who acted in furtherance of the conspiracy to batter

Plaintiffs.

        189.   Plaintiffs were injured as a result of the batteries, as related above, and as aided and

abetted and conspired to be done by Defendants.

                                            COUNT V
                                            ASSAULT
                             (All Plaintiffs against All Defendants)

        190.   Plaintiffs incorporate herein by reference the allegations contained in all preceding

paragraphs.

        191.   JOHN DOE Defendants and others intentionally and unlawfully attacked Plaintiffs

at the Capitol on January 6, 2021, as related above, and in so doing attempted or threatened by

their words or acts to do physical harm to Plaintiffs.         Plaintiffs each reasonably suffered

apprehension of imminent harmful or offensive contact as a result.

        192.   All Defendants aided and abetted the assaults of Plaintiffs. Through their actions

as related above in this Complaint, including their encouragement and facilitation of the assaults,

each Defendant knowingly and substantially assisted the assaults. Each Defendant was aware of

their role as part of an overall illegal or tortious activity and of their involvement in creating a

violent atmosphere in which others might be physically injured.

        193.   TRUMP, in his personal capacity, TRUMP FOR PRESIDENT, STOP THE

STEAL, PROUD BOYS, PBI, and OATH KEEPERS are vicariously liable for the acts of their

agents, each of whom acted within the scope of their agency in committing this tort.




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        194.   Each Defendant also conspired with one or more persons to attempt or threaten to

inflict physical harm to Plaintiffs. As related above in this Complaint, each Defendant agreed with

at least one other person to take actions which would foreseeably result in assault on Capitol Police

officers, including Plaintiffs, and Plaintiffs were injured as a result of the actions by co-

conspirators in furtherance of the conspiracy. Defendants are civilly liable to Plaintiffs for the

injurious actions of all co-conspirators who acted in furtherance of the conspiracy to assault

Plaintiffs.

        195.   Plaintiffs were injured as a result of the assaults on them, as related above, and as

aided and abetted and conspired to be done by Defendants.

                                            COUNT VI
                                          NEGLIGENCE
                              (All Plaintiffs against All Defendants)

        196.   Plaintiffs incorporate herein by reference the allegations contained in all preceding

paragraphs.

        197.   Each Defendant owed a duty to act reasonably and conform to the standards of

conduct set out in criminal statutes. They breached that duty through their actions in planning,

recruiting participants for, executing, or participating in the Capitol Attack.

        198.   Pursuant to D.C. Code § 22-1322, whoever “willfully engages . . . [or] incites or

urges others to engage in a riot” of five or more persons in the District of Columbia is subject to

certain specified criminal penalties.

        a.     STRAKA, NORDEAN, BIGGS, PEZZOLA, REHL, DONOHOE, RHODES,
               CALDWELL, MEGGS, HOSTETTER, TAYLOR, WARNER, MARTINEZ,
               KINNISON, and MELE engaged in the riot as set forth in this Complaint.

        b.     TRUMP, TRUMP FOR PRESIDENT, ALEXANDER, STONE, STRAKA, STOP
               THE STEAL, PROUD BOYS, PBI, TARRIO, DONOHOE, OATH KEEPERS,
               and RHODES incited or urged others to engage in a riot by their words and actions
               as set forth in this Complaint.


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       199.    Plaintiffs, all present at the Capitol during the riot, belong to a class of persons for

whose benefit D.C. Code § 22-1322 was enacted. The injuries suffered by Plaintiffs and caused

by the riot were a type of harm against which D.C. Code § 22-1322 was designed to protect.

Violation of D.C. Code § 22-1322 constitutes negligence per se.

       200.    Pursuant to D.C. Code § 10-503.16(b)(6), individuals are prohibited from “willfully

and knowingly . . . engag[ing] in any act of physical violence upon the United States Capitol

grounds or within any of the Capitol buildings.” PROUD BOYS, PBI, NORDEAN, BIGGS,

PEZZOLA, REHL, DONOHOE, OATH KEEPERS, RHODES, CALDWELL, WATKINS,

MEGGS, HOSTETTER, TAYLOR, WARNER, MARTINEZ, KINNISON, and MELE violently

breached barricaded areas of the Capitol grounds and the Capitol Building and attacked the police

officers guarding the Capitol, including Plaintiffs.

       201.    Plaintiffs, all present at the Capitol during this violence, belong to a class of persons

for whose benefit D.C. Code § 10-503.16 was enacted. The injuries suffered by Plaintiffs and

caused by the violence were a type of harm against which D.C. Code § 10-503.16 was designed to

protect. Violation of D.C. Code § 10-503.16 constitutes negligence per se.

       202.    Pursuant to 40 U.S.C. § 5104(e)(2)(F), individuals are prohibited from “willfully

and knowingly . . . engag[ing] in an act of physical violence in the Grounds or any of the Capitol

Buildings.” Defendants violated this prohibition.

       203.    Plaintiffs, all present at the Capitol during this violence, belong to a class of persons

for whose benefit 40 U.S.C. § 5104 was enacted. The injuries suffered by Plaintiffs and caused

by the violence were a type of harm against which 40 U.S.C. § 5104 was designed to protect.

Violation of 40 U.S.C. § 5104 constitutes negligence per se.




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        204.    TRUMP, in his personal capacity, TRUMP FOR PRESIDENT, STOP THE

STEAL, PROUD BOYS, PBI, and OATH KEEPERS are vicariously liable for the actions of their

agents, each of whom acted within the scope of their agency in committing this tort.

        205.    Defendants’ failure to act reasonably, as well as their violations of D.C. Code § 22-

1322, D.C. Code § 10-503.16(b)(6), and 40 U.S.C. § 5104, directly and proximately caused

Plaintiffs injuries.

                                *                 *                 *

        206.    For each count asserted in this Complaint, each Plaintiff is entitled to injunctive

relief and compensatory and punitive damages, in addition to reasonable attorneys’ fees and costs,

from each of these Defendants for physical and emotional injuries incurred as a direct causal effect

of the actions of Defendants.

                                     PRAYER FOR RELIEF

        Wherefore, Plaintiffs respectfully request an award of the following relief:

        A.      A declaratory judgment that the actions described herein constitute a violation of

                42 U.S.C. §§ 1985(1) and 1986, 40 U.S.C. § 5104, D.C. Code §§ 22-3704(a) and

                1322, and D.C. Code § 10-503.16(b);

        B.      Appropriate injunctive relief;

        C.      Compensatory damages in an amount to be determined by the jury at trial;

        D.      Punitive damages in an amount to be determined by the jury at trial;

        E.      An award of costs and reasonable attorney’s fees pursuant to 42 U.S.C. § 1988 and

                D.C. Code § 22-3704; and

        F.      Such other relief as the Court deems necessary and just.




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                                        JURY DEMAND

      Plaintiffs demand a jury trial on all issues so triable.


                                 *               *               *

Dated: August 26, 2021                               Respectfully submitted,

                                                     /s/ Edward G. Caspar
                                                     Damon Hewitt*
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                                                     [*Pro hac vice application forthcoming]




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